       Case: 23-60167    Document: 96        Page: 1   Date Filed: 06/05/2023



                                No. 23-60167

                                    IN THE

         United States Court of Appeals
                            FOR THE FIFTH CIRCUIT

                        ILLUMINA, INC. AND GRAIL, INC.,
                                                                         Petitioners,
                                        v.
                         FEDERAL TRADE COMMISSION,
                                                                         Respondent.

                         PETITION FOR REVIEW OF
               AN ORDER OF THE FEDERAL TRADE COMMISSION


                           PETITIONERS’ BRIEF

SUBMITTED BY:
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June 5, 2023
        Case: 23-60167     Document: 96     Page: 2    Date Filed: 06/05/2023




                 CERTIFICATE OF INTERESTED PERSONS

            Illumina, Inc. v. Federal Trade Commission, No. 23-60167

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of 5th CIR. Rule 28.2.1 have an

interest in the outcome of this case. These representations are made in order that the

judges of this court may evaluate possible disqualification or recusal.

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        Case: 23-60167     Document: 96          Page: 3   Date Filed: 06/05/2023




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Other Interested Parties:
Illumina, Inc. has outstanding securities
in the hands of the public, but no parent
companies, subsidiaries, affiliates, or
public companies own at least 10% of
Illumina, Inc.’s stock.




                                            ii
Case: 23-60167   Document: 96         Page: 4   Date Filed: 06/05/2023




                                  /s/ David R. Marriott
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                                iii
        Case: 23-60167     Document: 96        Page: 5   Date Filed: 06/05/2023




              STATEMENT REGARDING ORAL ARGUMENT

      Petitioners respectfully request that the Court grant oral argument in this

antitrust case. The issues presented are novel and/or of considerable importance.

Resolution of these issues depends on a proper understanding of the disputed claims,

the relevant provisions of the U.S. Constitution and case law and a voluminous

record. Oral argument will aid the Court in properly evaluating the case.




                                          iv
           Case: 23-60167             Document: 96            Page: 6        Date Filed: 06/05/2023




                                        TABLE OF CONTENTS

                                                                                                                 Page

CERTIFICATE OF INTERESTED PERSONS .........................................................i

STATEMENT REGARDING ORAL ARGUMENT ..............................................iv

TABLE OF AUTHORITIES ................................................................................. viii

CITATION ABBREVIATIONS ............................................................................xiv

GLOSSARY OF TERMS ........................................................................................ xv

JURISDICTIONAL STATEMENT .......................................................................... 1

STATEMENT OF THE ISSUES............................................................................... 2

STATEMENT OF THE CASE .................................................................................. 3

          A.       Illumina and Grail ................................................................................ 5

          B.       The Transaction ................................................................................... 7

          C.       The Open Offer .................................................................................... 8

          D.       FTC’s Challenge .................................................................................. 9

          E.       The Decision ...................................................................................... 10

SUMMARY OF ARGUMENT ............................................................................... 12

STANDARD OF REVIEW ..................................................................................... 15

ARGUMENT ........................................................................................................... 16

I.       THE COMMISSION EXCEEDED ITS AUTHORITY AND
         INFRINGED PETITIONERS’ CONSTITUTIONAL RIGHTS. .................. 16

          A.       The Commission Acted Under an Improper Delegation of
                   Legislative Power. ............................................................................. 16

          B.       The Commissioners Unconstitutionally Exercised Executive
                   Powers While Insulated from Presidential Removal. ........................ 18



                                                          v
         Case: 23-60167             Document: 96              Page: 7       Date Filed: 06/05/2023




        C.       The Commission’s Acts Violated Due Process. ................................ 23

        D.       The Commission Followed an Uncodified, Black-box
                 “Clearance” Process Incompatible with Equal Protection. ............... 26

II.    THE COMMISSION ERRED IN DEFINING THE RELEVANT
       MARKET. ..................................................................................................... 28

        A.       The Commission’s “Market” Violates the Standard of
                 Reasonable Interchangeability of Use and Cross-Elasticity of
                 Demand. ............................................................................................. 30

        B.       The Commission’s “Market” Satisfies Neither the Brown Shoe
                 Market Factors nor the HMT. ............................................................ 34

        C.       The Commission’s R&D Market Definition Is Baseless. ................. 37

III.   THE COMMISSION ERRED IN CONCLUDING THE
       TRANSACTION IS LIKELY TO SUBSTANTIALLY LESSEN
       COMPETITION. ........................................................................................... 39

        A.       The Commission’s “Brown Shoe Standard” Misstates the Law
                 and Ignores Undisputed Evidence. .................................................... 41

        B.       The Commission Misapplied the “Ability-and-Incentive” Test,
                 Elevating Possibilities Over Probabilities. ........................................ 46

        C.       The Commission Failed To Account for the Real-World
                 Effects from the Open Offer. ............................................................. 55

IV.    THE COMMISSION ERRED IN IGNORING EFFICIENCIES
       REBUTTING ANY ALLEGATION OF HARM. ........................................ 58

        A.       The Commission Applied the Wrong Legal Standard. ..................... 60

        B.       The Commission’s Conclusions Lack Support in Substantial
                 Evidence............................................................................................. 64

        C.       The Commission Failed to Balance Efficiencies Against
                 Alleged Harm..................................................................................... 70

V.     THE DECISION INJURED PETITIONERS AND SHOULD BE SET
       ASIDE IN ITS ENTIRETY. .......................................................................... 72


                                                         vi
           Case: 23-60167             Document: 96             Page: 8     Date Filed: 06/05/2023




CONCLUSION ........................................................................................................ 74

CERTIFICATE OF SERVICE ................................................................................ 76

CERTIFICATE OF COMPLIANCE ....................................................................... 77




                                                         vii
           Case: 23-60167             Document: 96           Page: 9       Date Filed: 06/05/2023




                                     TABLE OF AUTHORITIES

                                                                                                           Page(s)
Cases

A.L.A. Schechter Poultry Corp. v. United States,
   295 U.S. 495 (1935) ............................................................................................ 43

Aransas Project v. Shaw,
   775 F.3d 641 (5th Cir. 2014) .............................................................................. 15

Axon Enter., Inc. v. FTC,
  143 S. Ct. 890 (2023) ....................................................................................17, 24

Bankers Life & Cas. Co. v. Crenshaw,
  486 U.S. 71 (1988) .............................................................................................. 26

Brown Shoe Co. v. United States,
   370 U.S. 294 (1962) .....................................................................................passim

Carr v. Saul,
  141 S. Ct. 1352 (2021) ........................................................................................ 18

City of Arlington v. FCC,
   569 U.S. 290 (2013) ............................................................................................ 20

Comcast Cable Commc’ns, LLC v. FCC,
  717 F.3d 982 (D.C. Cir. 2013) ............................................................................ 40

DISH Network Corp. v. NLRB,
  953 F.3d 370 (5th Cir. 2020) ........................................................................47, 51

Free Enter. Fund v. PCAOB,
   561 U.S. 477 (2010) ......................................................................................21, 22

Fruehauf Corp. v. FTC,
   603 F.2d 345 (2d Cir. 1979) ...................................................................39, 43, 44

FTC v. Arch Coal, Inc.,
  329 F. Supp. 2d 109 (D.D.C. 2004) .............................................................passim

FTC v. Ind. Fed’n of Dentists,
  476 U.S. 447 (1986) ............................................................................................ 15


                                                        viii
          Case: 23-60167             Document: 96           Page: 10        Date Filed: 06/05/2023




FTC v. Libbey, Inc.,
  211 F. Supp. 2d 34 (D.D.C. 2002) ...................................................................... 55

FTC v. RAG-Stiftung,
  436 F. Supp. 3d 278 (D.D.C. 2020) ........................................................28, 34, 36

FTC v. Tenet Health Care Corp.,
  186 F.3d 1045 (8th Cir. 1999) ......................................................................58, 60

FTC v. Univ. Health, Inc.,
  938 F.2d 1206 (11th Cir. 1991) .......................................................................... 60

Gibson v. Berryhill,
   411 U.S. 564 (1973) ............................................................................................ 23

Golden Gate Pharmacy Servs., Inc. v. Pfizer, Inc.,
  No. C-09-3854 MMC, 2010 WL 1541257 (N.D. Cal. Apr. 16, 2010),
  aff’d, 433 F. App’x 598 (9th Cir. 2011) ............................................................. 37

Heller v. Doe,
  509 U.S. 312 (1993) ............................................................................................ 27

Humphrey’s Executor v. United States,
  295 U.S. 602 (1935) ................................................................................19, 20, 21

Jacob Siegel Co. v. FTC,
   327 U.S. 608 (1946) ............................................................................................ 15

Jarkesy v. SEC,
   34 F.4th 446 (5th Cir. 2022) .............................................................10, 16, 17, 18

Jim Walter Corp. v. FTC,
   625 F.2d 676 (5th Cir. 1980) .............................................................................. 15

Ky. Speedway, LLC v. Nat’l Ass’n of Stock Car Auto Racing, Inc.,
   588 F.3d 908 (6th Cir. 2009) .............................................................................. 37

Leegin Creative Leather Prods., Inc. v. PSKS, Inc.,
   551 U.S. 877 (2007) ............................................................................................ 42

Mercantile Tex. Corp. v. Bd. of Governors of Fed. Rsrv. Sys.,
  638 F.2d 1255 (5th Cir. 1981) ......................................................................38, 44



                                                         ix
          Case: 23-60167             Document: 96             Page: 11       Date Filed: 06/05/2023




Mistretta v. United States,
  488 U.S. 361 (1989) ............................................................................................ 16

In re Murchison,
    349 U.S. 133 (1955) ............................................................................................ 23

Myers v. United States,
  272 U.S. 52 (1926) ........................................................................................19, 21

New York v. Deutsche Telekom AG,
  439 F. Supp. 3d 179 (S.D.N.Y. 2020) ..............................................34, 60, 62, 63

Ohio v. Am. Express Co.,
  138 S. Ct. 2274 (2018) ........................................................................................ 39

Pennzoil Co. v. FERC,
  789 F.2d 1128 (5th Cir. 1986) ............................................................................ 15

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  615 F.3d 412 (5th Cir. 2010) .............................................................................. 30

Republic Tobacco Co. v. North Atl. Trading Co.,
  381 F.3d 717 (7th Cir. 2004) ........................................................................40, 58

Romer v. Evans,
  517 U.S. 620 (1996) ............................................................................................ 26

SCM Corp. v. Xerox Corp.,
  645 F.2d 1195 (2d Cir. 1981) .......................................................................34, 38

Seila Law LLC v. Consumer Fin. Prot. Bureau,
   140 S. Ct. 2183 (2020) .................................................................................passim

Solid Waste Agency of N. Cook Cnty. v. U.S. Army Corps of Eng’rs,
   531 U.S. 159 (2001) ............................................................................................ 43

STP Nuclear Operating Co. v. NLRB,
  975 F.3d 507 (5th Cir. 2020) .............................................................................. 47

Tenneco, Inc. v. FTC,
   689 F.2d 346 (2d Cir. 1982) ............................................................................... 35




                                                          x
          Case: 23-60167             Document: 96            Page: 12        Date Filed: 06/05/2023




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   541 U.S. 509 (2004) ............................................................................................ 26

TRW, Inc. v. NLRB,
  654 F.2d 307 (5th Cir. 1981) .............................................................................. 51

U.S. Steel Corp. v. FTC,
   426 F.2d 592 (6th Cir. 1970) .............................................................................. 46

United States v. Anthem, Inc.,
  855 F.3d 345 (D.C. Cir. 2017) ............................................................................ 62

United States v. AT&T Inc. (AT&T I),
  310 F. Supp. 3d 161 (D.D.C. 2018) .............................................................passim

United States v. AT&T, Inc. (AT&T II),
  916 F.3d 1029 (D.C. Cir. 2019) ...................................................................passim

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  908 F.2d 981 (D.C. Cir. 1990) ..........................................................57, 61, 63, 70

United States v. E.I. DuPont de Nemours & Co.,
  353 U.S. 586 (1957) ............................................................................................ 28

United States v. Marine Bancorp.,
  418 U.S. 602 (1974) ......................................................................................40, 42

United States v. UnitedHealth Grp. Inc.,
  No. 1:22-cv-0481, 2022 WL 4365867 (D.D.C. Sept. 19, 2022) ........................ 55

Universal Camera Corp. v. NLRB,
  340 U.S. 474 (1951) ............................................................................................ 47

Valentine v. Comm’r Soc. Sec. Admin.,
   574 F.3d 685 (9th Cir. 2009) .............................................................................. 62

West Virginia v. EPA,
  142 S. Ct. 2587 (2022) ........................................................................................ 39

Williams v. Pennsylvania,
   579 U.S. 1 (2016) ................................................................................................ 23




                                                          xi
           Case: 23-60167              Document: 96            Page: 13         Date Filed: 06/05/2023




Withrow v. Larkin,
   421 U.S. 35 (1975) .............................................................................................. 23

Constitutional Provisions, Statutes & Rules

16 C.F.R. § 2.7 ......................................................................................................... 25

16 C.F.R. § 3.42 ....................................................................................................... 27

16 C.F.R. § 3.43 ....................................................................................................... 27

16 C.F.R. § 3.54 ....................................................................................................... 27

5 U.S.C. § 554 .......................................................................................................... 23

15 U.S.C. § 18 ....................................................................................................38, 40

15 U.S.C. § 21 .......................................................................................................... 15

15 U.S.C. § 25 .......................................................................................................... 27

15 U.S.C. § 45 ........................................................................................16, 17, 18, 27

15 U.S.C. § 53 ....................................................................................................18, 27

15 U.S.C. § 78u-3..................................................................................................... 17

Fed. R. Civ. P. 32 ...............................................................................................25, 26

U.S. Const. amend. V ................................................................................................. 2

U.S. Const. art. I, § 1 ................................................................................................ 16

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  ...........................................................................................................40, 45, 58, 70

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   Tragedy, TRUTH ON THE MARKET (Apr. 4, 2023) ............................................... 22

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   that Can Save Lives, COMPETITIVE ENTER. INST. (Apr. 5, 2023) ....................... 22



                                                            xii
           Case: 23-60167             Document: 96            Page: 14         Date Filed: 06/05/2023




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   Vertical Merger Principles and the FTC’s Misapplication in the
   Illumina-GRAIL Case, COMPETITIVE ENTER. INST. (2021) ................................ 66

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  Guidelines and Comments from Stakeholders, Remarks at the DOJ
  Workshop on Draft Vertical Mergers (March 11, 2020) .................................... 66

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  REV. 1835 (2015) ................................................................................................ 20

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   (Apr. 3, 2023) ...................................................................................................... 22

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   (Apr. 27, 2023) .................................................................................................... 22

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   Guidelines (Aug. 19, 2010)...........................................................................59, 68

U.S. Dep’t of Justice & Fed. Trade Comm’n, Vertical Merger Guidelines
   (June 30, 2020)...................................................................................................... 4

U.S. Dep’t of Justice, Non-Horizontal Merger Guidelines (June 14, 1984) ........... 40




                                                           xiii
     Case: 23-60167    Document: 96     Page: 15   Date Filed: 06/05/2023




                      CITATION ABBREVIATIONS

ABBREVIATION                                MEANING
      AA           Amended Answer
      CCB          Appeal Brief of Complaint Counsel concerning the
                   Initial Decision
     Conc.         Concurring Opinion of Commissioner Wilson
       ID          Initial Decision of the Administrative Law Judge
      IDF          Initial Decision Findings of Fact
      Op.          Opinion of the Commission
     Order         Final Order of the Commission
      PX           Exhibit of Complaint Counsel (Respondent here)
 Pre-Hearing Tr.   Transcript of the Final Pretrial Hearing
      RAB          Answering Appeal Brief of Respondents Below
                   (Petitioners here)
      RFF          Proposed Findings of Fact of Respondents Below
                   (Petitioners here)
     RRFF          Proposed Reply Findings of Fact of Respondents
                   Below (Petitioners here)
     RPTB          Post-Trial Brief of Respondents Below (Petitioners
                   here)
      RX           Exhibit of Respondents Below (Petitioners here)
       Tr.         Trial Transcript




                                      xiv
    Case: 23-60167   Document: 96    Page: 16    Date Filed: 06/05/2023




                      GLOSSARY OF TERMS

ABBREVIATION                               MEANING
                 Illumina’s acquisition of the shares of Grail that it did not
  Acquisition
                 already own by a Merger Agreement dated August 18, 2021
     ALJ         Administrative Law Judge, Chief Judge Chappell
     CC          Complaint Counsel of the Federal Trade Commission
     CSO         Cancer Signal of Origin
                 The Final Order or the Opinion of the Commission dated
   Decision
                 March 31, 2023
     FTC         Federal Trade Commission
  Commission     Commissioners of the Federal Trade Commission
    Galleri      MCED Test developed by Grail
     Grail       Grail, Inc. (now known as GRAIL, LLC)
   Illumina      Illumina, Inc.
     LDT         Laboratory Developed Test
  MCED test      Multicancer Early Detection Test
                 Illumina’s offer to oncology customers dated March 30,
  Open Offer
                 2021 and amended September 8, 2021
   Opinion       The Opinion of the Commission dated March 31, 2023
    Order        The Final Order of the Commission dated March 31, 2023
     PTD         Putative MCED test in development
                 Illumina’s acquisition of the shares of Grail that it did not
  Transaction
                 already own by a Merger Agreement dated August 18, 2021




                                    xv
        Case: 23-60167      Document: 96      Page: 17    Date Filed: 06/05/2023




                        JURISDICTIONAL STATEMENT

      This is an appeal from the Decision of the FTC in In the Matter of Illumina,

Inc. and Grail, Inc., Docket No. 9401, on March 31, 2023, which disposes of all

claims with respect to all parties. Petitioners initiated this appeal by filing a petition

for review under F.R.A.P. 15 and 15 U.S.C. § 45(c) on April 4, 2023.
       Case: 23-60167    Document: 96       Page: 18   Date Filed: 06/05/2023




                        STATEMENT OF THE ISSUES

      At issue is whether FTC erred in finding Illumina’s acquisition of Grail (the

“Transaction”) unlawful and ordering divestiture—specifically:

      1.    Whether the Commission exceeded its lawful authority and violated the

            U.S. Constitution, including Article I, Article II and the Due Process

            and Equal Protection Clauses of the Fifth Amendment;

      2.    Whether the Commission erred in defining the relevant product market

            to include speculative products that do not exist, may never exist and

            are not interchangeable;

      3.    Whether in finding the Transaction anticompetitive, the Commission

            applied the wrong test, ignored real-world facts and cherry-picked the

            record;

      4.    Whether the Commission evaluated the Transaction’s efficiencies on a

            mistaken legal standard; and

      5.    Whether the Decision should be set aside in its entirety and judgment

            entered for Petitioners without remand.




                                        2
       Case: 23-60167      Document: 96       Page: 19   Date Filed: 06/05/2023




                          STATEMENT OF THE CASE

      This is a case of flagrant government overreach. FTC seeks to scuttle a merger

between Illumina and Grail that will accelerate the adoption of a revolutionary

cancer screening test, Galleri, that will save countless lives.       Under a proper

application of the antitrust laws, FTC should have cleared the deal long ago. For the

first time decades, FTC’s own ALJ found for the merging parties after presiding over

a five-week trial. Had FTC approved the merger, commercialization of Grail’s

award-winning test would be greatly progressed today. Instead, FTC has gone to

unprecedented lengths to kill the Transaction, even colluding with European

regulators to evade scrutiny from Article III courts. FTC’s actions have brought

longstanding constitutional defects in the agency’s structure and proceedings into

sharp focus. Now that the case is before an Article III court, those defects should be

quickly addressed so Illumina/Grail can make Galleri available to as many people

as possible.

      The Transaction at the heart of this case easily passes antitrust muster. It is a

vertical merger between non-competitors: Illumina transformed genomic

sequencing and Grail revolutionized cancer diagnoses using Illumina’s sequencing

platform. There is no possibility—much less probability—that the merged parties

would or could engage in foreclosure. Not only would that make no economic sense,

but also it is prohibited by binding supply agreements that Illumina has with its



                                          3
       Case: 23-60167      Document: 96       Page: 20   Date Filed: 06/05/2023




customers. It is also defied by real-world evidence: Illumina has had a financial

stake in Grail since it founded the startup in Illumina’s laboratories in 2015, and FTC

concedes there has been no evidence of foreclosure in all that time.

      None of this is surprising. Courts have long recognized the benefits of vertical

mergers. FTC itself recognized those benefits at the time Illumina and Grail agreed

to the Transaction. U.S. Dep’t of Justice & Fed. Trade Comm’n, Vertical Merger

Guidelines 12 (June 30, 2020). The evidence so heavily favors Illumina and Grail

that FTC’s own ALJ ruled in their favor. That almost never happens, and it is a

testament to overwhelming evidence supporting the Transaction.                But the

Commission snatched victory from the jaws of defeat and overruled its own ALJ in

a thinly reasoned decision that misapplies basic principles of antitrust law and

disregards overwhelming evidence showing that the merger is pro-competitive.

      To make matters worse, the FTC proceeding violated fundamental

constitutional protections.   It violated Article I because FTC’s administrative

proceedings were an unconstitutional delegation of legislative power. It violated

Article II because for-cause removal protections insulated the Commissioners from

critical accountability to the President—and ultimately the people. It violated due

process by depriving Illumina and Grail of a fair proceeding before an impartial

tribunal. And it violated equal protection by leaving the possibility of review before

DOJ (and ultimately a federal district court) subject to a random, uncodified “black-



                                          4
           Case: 23-60167   Document: 96       Page: 21   Date Filed: 06/05/2023




box” clearance process. Nothing in the Clayton Act gives FTC unbridled authority

to block transactions based on its own ipse dixit or “ephemeral possibilities.”

      Sometimes the price of an unconstitutional agency can be measured in lost

dollars.     This time, the price is lost lives.      This Court should reverse the

Commission’s decision and render judgment for Illumina and Grail, clearing the way

for them to continue their life-saving work together.

      A.       Illumina and Grail

      Illumina is a global leader in next-generation sequencing (“NGS”), a

technology that involves determining the “sequence” of the base pairs in genetic

material. (IDF¶¶8, 521.) NGS may be used for many downstream applications,

including cancer screening. (IDF¶¶6, 522.)

      Illumina has been instrumental in the development and adoption of NGS

technology, dramatically reducing the cost of NGS—from $10 million to sequence

a full human genome in 2007 to less than $1,000 today. (IDF¶¶809-10.) By doing

so, Illumina has expanded existing NGS applications and enabled new ones.

(RFF¶¶849, 857, 861.)

      In 2013, Illumina acquired a company called Verinata, expanding vertically

into non-invasive prenatal testing (“NIPT”). (RX3337.1.) The acquisition not only

increased competition and lowered prices (RX3864¶¶164-67), but also led to Grail’s




                                           5
        Case: 23-60167      Document: 96       Page: 22   Date Filed: 06/05/2023




founding after Illumina scientists discovered that genetic abnormalities in blood

samples of pregnant women were signals of undiagnosed cancer. (Tr. 1868-74.)

      Realizing that NGS could identify cancer signals in the blood, Illumina

founded Grail in 2015 to develop a multi-cancer early detection (“MCED”) test: a

test that can identify multiple cancer types from a single blood sample. (IDF¶21.)

Grail was so named because it represents the “Holy Grail” of cancer research.

(IDF¶21.) Grail would require costly studies to prove whether the idea would work,

and even then the clinical utility of such a test was uncertain. (IDF¶¶30-32.)

      In 2017, Illumina spun off Grail to encourage outside investment to fund the

large clinical trials needed to develop and validate its test. (IDF¶¶37-40.) But

Illumina has always maintained a significant economic interest in Grail, holding an

equity interest of at least 12%, and, from 2017 until its reacquisition of Grail in 2021,

retaining the right to a significant, perpetual royalty from Grail’s future oncology

revenues. (IDF¶¶40-42.)

      Through extensive research, Grail compiled an “atlas” of cancer signals in the

blood and developed a machine learning platform to distinguish cancer signals from

non-cancer signals to create a one-of-a-kind test called Galleri. (IDF¶¶213-31.)

Galleri can simultaneously detect more than 50 cancer types in asymptomatic

patients from a single blood draw and accurately localize cancer in positive cases.




                                           6
          Case: 23-60167   Document: 96       Page: 23   Date Filed: 06/05/2023




(IDF¶¶228, 231.) In April 2021, Grail launched Galleri in the U.S. as a laboratory

developed test (“LDT”). (IDF¶52.)

      But Galleri’s potential was limited with Grail operating independently.

Galleri costs nearly $1,000 and is not covered by most insurers, making it

inaccessible for many Americans. Galleri faces many challenges to achieve wide-

scale commercialization, including obtaining regulatory approvals, payor

reimbursement, and production/distribution at scale. (IDF¶¶169-70, 198-99, 258;

Tr.1420-21.)

      B.       The Transaction

      In September 2020, Illumina and Grail concluded that the best way to

accelerate Galleri’s adoption and unlock other efficiencies was for the companies to

fully reunite.1 (IDF¶58; Tr.2341-80, 2971.) As Grail’s founder and a leader in NGS,

Illumina is uniquely situated to help Galleri succeed.

      The companies concluded that Illumina’s full reacquisition of Grail would

accelerate the widespread adoption of Galleri, realizing the true “Holy Grail” by

reducing the cancer burden worldwide, saving thousands of lives and avoiding

billions in healthcare costs. (RFF¶¶1121-1121.9.) With the elimination of Grail’s



      1
        The Transaction closed in 2021, but Illumina is required to hold Grail
separate pending review by the European Commission (“EC”). Illumina has
challenged the EC’s jurisdiction, but has not yet been able to integrate Grail or
achieve the many benefits of the Transaction. (IDF¶61.)


                                          7
       Case: 23-60167     Document: 96       Page: 24   Date Filed: 06/05/2023




royalty, the elimination of double marginalization (“EDM”), and Illumina’s ability

to make Grail’s supply chain and operations more efficient, Galleri will become

cheaper and more accessible. (RFF¶¶1152-67.) Accelerating Galleri’s availability

to underserved populations domestically and abroad will ensure that Grail’s genomic

dataset is more representative and diverse, improving Galleri’s performance and

reducing health inequities. (Tr.2375-76.)

      C.     The Open Offer

      After the Transaction was announced, Illumina contacted its NGS customers,

including companies FTC alleges are Grail rivals, to assure them that the Transaction

would not adversely impact their relationships with Illumina. (IDF¶¶513-14, 875-

76.) Through these discussions, Illumina developed a binding 12-year supply

commitment (the “Open Offer”) memorializing the protections that the customers

had requested, and more. (IDF¶¶875-86.)

      Illumina announced the Open Offer in March 2021, and it took effect in

August 2021. (IDF¶¶876, 888.) Any customer may sign until August 2027, and any

Open Offer contract lasts until August 2033 (terminable at the customer’s option).

(IDF¶¶880-81, 888.) The Open Offer guarantees customers, inter alia, the same

access to Illumina’s sequencing products at the same price that Grail has, with

guaranteed price reductions by at least 43% in the future. (IDF¶¶890, 915-29.) It

also includes robust enforcement provisions, including compliance audits and



                                         8
       Case: 23-60167      Document: 96       Page: 25   Date Filed: 06/05/2023




binding arbitration. (IDF¶978.) At the close of the record, ten companies—

including three of the alleged MCED developers who testified at trial for FTC—had

signed the Open Offer or supply agreements incorporating its terms. (IDF¶989;

RFF¶1058.) As the ALJ found, the Open Offer constrains Illumina from foreclosing

Grail’s purported rivals. (ID.178.)

      D.       FTC’s Challenge

      Although it is widely recognized that vertical mergers are pro-competitive and

rarely harm competition, FTC commenced litigation seeking to block (and later

unwind) the Transaction. It did so even though Illumina founded Grail and has

always had a significant interest in its success, and—as FTC counsel conceded—

there is no evidence Illumina’s ownership of Grail has ever actually harmed

competition.

      FTC initially sued in both an Article III court and its own administrative court,

while coordinating with foreign antitrust authorities. But after the EC asserted

jurisdiction, FTC withdrew its Article III case (just three months before the hearing),

choosing instead to try its claim exclusively in administrative court, where it had not

lost a merger challenge in decades and where it could rely on evidence that would

never be admissible in an Article III court (see Section I.C). During a five-week

trial, the ALJ heard from 66 witnesses and received more than 4,500 exhibits. (ID.2-

3.) Finding Illumina’s witnesses credible and many of FTC’s witnesses unreliable



                                          9
       Case: 23-60167      Document: 96     Page: 26    Date Filed: 06/05/2023




(ID.144-45, 147 & nn.30-31, 35), the ALJ dismissed the case, concluding—for the

first time in any recent merger challenge—that FTC failed to meet its prima facie

burden. (ID.2.)

      The ALJ held that FTC failed to show that the Transaction may substantially

lessen competition, including because it does not incentivize Illumina to harm any

downstream customer, much less supposed MCED competition. (ID.172-78.) The

ALJ’s findings were based in significant part on his assessment of witness

credibility. (ID.174-77.) The ALJ specifically found no credible evidence that a test

comparable to Galleri was likely to launch in the foreseeable future. (ID.148-49.)

Thus, the ALJ found that Illumina had no incentive to foreclose Grail’s rivals.

(ID.177-78.) The ALJ further found that “[t]he Open Offer constrains Illumina from

using virtually any of the tools that FTC asserts will raise rivals’ costs or otherwise

foreclose Grail’s alleged rivals.” (ID.179.)

      E.     The Decision

      The Commission disregarded the ALJ’s findings, cherry-picked the record,

and entered an order reiterating the allegations of its discredited complaint.

      Specifically, the Commission (i) disregarded multiple constitutional defects

tainting its challenge and dismissed Jarkesy v. SEC as wrongly decided; (ii) defined

the relevant market to include tests not yet on the market, whose features and

functions are unknown; (iii) ruled that the Transaction will substantially lessen



                                          10
       Case: 23-60167     Document: 96    Page: 27    Date Filed: 06/05/2023




competition, though there is no evidence Illumina ever disadvantaged any purported

Grail rival; (iv) rejected the Open Offer as legally irrelevant; and (v) ruled the

Transaction’s efficiencies are of no legal consequence.




                                         11
       Case: 23-60167      Document: 96     Page: 28   Date Filed: 06/05/2023




                          SUMMARY OF ARGUMENT

      In disregarding the ALJ’s conclusions, and replacing them with the

discredited allegations of its own complaint, the Commission not only made a

decision that will slow the adoption of a life-saving cancer test, but also committed

multiple reversible legal errors.

      1.     Unconstitutional Proceeding/Decision.       This proceeding and the

Decision it produced are constitutionally defective for multiple         independent

reasons.    FTC’s unbounded discretion to initiate proceedings before an

administrative tribunal or federal court violates the core limits on the delegation of

Article I power. The for-cause restriction on the President’s power to remove FTC

Commissioners violates Article II, given the vast executive power exercised by FTC

today as compared to 1935. The Commission acted as prosecutor and judge of its

own case, violating fundamental principles of due process. And FTC’s clearance

process arbitrarily subjected Petitioners to a materially disadvantageous

administrative process (as compared to a federal court proceeding), in violation of

the Equal Protection Clause.

      2.     Flawed Market Definition. The Decision should also be reversed

because the Commission failed to properly define the relevant product market, a

necessary element of its case. A properly defined product market comprises only

products that are reasonably interchangeable. But FTC’s market includes R&D



                                          12
       Case: 23-60167      Document: 96     Page: 29    Date Filed: 06/05/2023




projects that are still in development, may never become commercial products and,

even if they did, would be very different from Galleri. This made-up market satisfies

neither the Brown Shoe factors nor the Hypothetical Monopolist Test, relying

entirely on speculation about theoretical future products. FTC’s claim that research

and development efforts suffice to establish a relevant market is mistaken.

      3.      No Substantial Lessening of Competition. The ALJ found that FTC

failed to show that the Transaction is likely to substantially lessen competition. The

ALJ was uniquely qualified to reach that conclusion, having received testimony from

56 fact and 10 expert witnesses (including three former DOJ chief economists) and

having reviewed an extensive documentary record. In overturning the ALJ, the

Commission applied the wrong test for evaluating vertical mergers by diluting the

standard of harm, relying on possibilities rather than probabilities and ignoring the

Open Offer.

      4.      Rebuttal Evidence Including Life-Saving Efficiencies. Even if the

Transaction would otherwise have had some anticompetitive effect, the alleged harm

is easily outweighed by efficiencies, including that it will save many thousands of

lives. While the ALJ found it unnecessary to reach efficiencies, the unrefuted

evidence showed that the Transaction will accelerate regulatory approval and market

access to Galleri; eliminate double margins and a royalty Grail otherwise owed; lead

to supply-chain/operational efficiencies, enabling lower prices and faster testing; and



                                          13
       Case: 23-60167     Document: 96    Page: 30   Date Filed: 06/05/2023




lead to new innovations. In dismissing these benefits, the Commission imposed a

mistaken, double standard, while ignoring undisputed evidence.

      5.    Judgment for Petitioners. Given the fundamental constitutional defects

in the Commission’s proceeding and the Decision, and legal and evidentiary

shortcomings of FTC’s case in seeking to block the merger, the Decision should be

set aside and judgment entered for Petitioners without remand.




                                         14
       Case: 23-60167     Document: 96    Page: 31    Date Filed: 06/05/2023




                           STANDARD OF REVIEW

      This Court conducts de novo review of questions of law, Pennzoil Co. v.

FERC, 789 F.2d 1128, 1135 (5th Cir. 1986), and mixed questions of law and fact.

FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 454 (1986).

      The Commission’s factual determinations are reviewed under the “substantial

evidence” standard. 15 U.S.C. § 21(c); Jim Walter Corp. v. FTC, 625 F.2d 676, 681

(5th Cir. 1980). That standard is not met where a factual finding “rests on an

erroneous view of the law,” Aransas Project v. Shaw, 775 F.3d 641, 658 (5th Cir.

2014); an agency fails to “take into account whatever in the record fairly detracts

from” the evidence, including “determinations by the ALJ which differ from the

agency’s determination,” Pennzoil, 789 F.2d at 1135; or an agency cherry-picks facts

in the record, Jim Walter Corp., 625 F.2d at 683.

      The standard of review for remedies is “whether the Commission abused its

discretion.” Jacob Siegel Co. v. FTC, 327 U.S. 608, 612 (1946).




                                         15
          Case: 23-60167   Document: 96    Page: 32    Date Filed: 06/05/2023




                                  ARGUMENT

I.    THE COMMISSION EXCEEDED ITS AUTHORITY                                     AND
      INFRINGED PETITIONERS’ CONSTITUTIONAL RIGHTS.

      As a threshold matter, the FTC proceeding, from start to finish, was tainted

by fundamental constitutional defects, each of which renders that proceeding

unconstitutional and requires the Commission’s Decision be set aside.

      A.      The Commission Acted Under an Improper Delegation of
              Legislative Power.

      Article I of the Constitution provides that “[a]ll legislative Powers herein

granted shall be vested in a Congress of the United States.” U.S. Const. art. I, § 1.

Congress cannot delegate that power to an executive agency unless it “provides an

‘intelligible principle’ by which the [agency] can exercise it.” Jarkesy v. SEC, 34

F.4th 446, 460-61 (5th Cir. 2022) (quoting Mistretta v. United States, 488 U.S. 361,

372 (1989)).2     As Jarkesy held, a violation of that non-delegation doctrine

independently warrants vacating the agency’s decision. Id. at 462-63.

      The FTC proceeding in this case suffers from the same constitutional defect

identified in Jarkesy. Congress delegated to FTC the power to decide whether to

bring antitrust enforcement actions in administrative proceedings rather than in an

Article III court. See 15 U.S.C. §§ 45(b), 53(b). As this Court explained in Jarkesy,


      2
        Recognizing this Court is bound by precedent, Petitioners preserve for
Supreme Court review the argument that the “intelligible principle” standard should
be replaced with a more constitutionally grounded standard.


                                          16
       Case: 23-60167      Document: 96    Page: 33    Date Filed: 06/05/2023




the “power to assign disputes to agency adjudication” is a “legislative power.” 34

F.4th at 461. Although the Commission dismissed this Court’s precedent as if it

were entitled to no respect (Op.88 n.71), Jarkesy is controlling here.

      In addition, Congress did not provide FTC with an intelligible principle by

which to exercise that power. See Jarkesy, 34 F.4th at 462. In Jarkesy, the Court

held that Congress failed to provide an intelligible principle by granting the SEC

“exclusive authority and absolute discretion to decide whether to bring securities

fraud enforcement actions within the agency instead of in an Article III court”

without “indicating how the SEC should make that call in any given case.” Id. The

same is true with respect to FTC—Congress gave FTC unfettered and unguided

discretion to decide whether to bring antitrust enforcement actions in administrative

proceedings instead of in Article III courts. Cf. Axon Enter., Inc. v. FTC, 143 S. Ct.

890, 897 (2023) (equating FTC and SEC authority in this respect). Indeed, the

statutes authorizing SEC and FTC administrative proceedings are materially

identical. Compare 15 U.S.C. § 78u-3(a) (authorizing SEC to bring administrative

proceedings against “any person [who] is violating, has violated, or is about to

violate” the securities laws), with 15 U.S.C. § 45(b) (authorizing FTC to bring




                                          17
          Case: 23-60167   Document: 96       Page: 34   Date Filed: 06/05/2023




administrative proceedings against “any such person, partnership, or corporation

[that] has been or is using any unfair method of competition”).3

      Thus, in electing to proceed administratively in this case, FTC acted under an

unconstitutional delegation of legislative power.         This case illustrates how

unbounded that legislative authority is: FTC initially brought suit in federal court,

and later simply dropped the federal court action and continued to litigate in its home

administrative court. As in Jarkesy, that constitutional defect alone requires vacatur

of the Decision. 34 F.4th at 459 n.9, 463.4

      B.      The Commissioners Unconstitutionally Exercised Executive
              Powers While Insulated from Presidential Removal.

      The Commission proceeding and Decision also violated Article II. Under

Article II, “the ‘executive Power’—all of it—is ‘vested in a President.’” Seila Law

LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct. 2183, 2191 (2020). Because


      3
        The Commission purported to find an “intelligible principle” in the statutory
prescription that FTC may “seek administrative enforcement when it ‘would be in
the interest of the public.’” (Op.89 (quoting 15 U.S.C. § 45(b)). But that same
prescription appears in the statute authorizing actions in federal court. See 15 U.S.C.
§ 53(b)(2). It thus does not provide any guidance for purposes of deciding between
administrative proceedings and federal court—the key issue here.
      4
        The Commission’s passing suggestion that Petitioners “waived” this issue is
baseless. (Op.87.) The Article I defect here concerns a structural constitutional
defect that need not be exhausted before the agency. See Carr v. Saul, 141 S. Ct.
1352, 1360-62 (2021). Regardless, Petitioners preserved their challenge by asserting
a “separation of powers” defense and raising an Article-I-non-delegation objection
with the ALJ days after Jarkesy was decided, and with the Commission before it
ruled. (AA.35; RPTB.130-31; RAB.41-42.)


                                          18
       Case: 23-60167      Document: 96     Page: 35   Date Filed: 06/05/2023




principal executive officers “must remain accountable to the President, whose

authority they wield,” the President’s executive power includes “appointing,

overseeing, and controlling” such officers. Id. at 2197. And that power “generally

includes the ability to remove” such officers on an “unrestricted” basis, as “has long

been confirmed by history and precedent.” Id. at 2197-98; see Myers v. United

States, 272 U.S. 52, 163-64 (1926).

      In 1935, the Supreme Court broke ranks with that history and precedent, and

upheld the constitutionality of a provision insulating FTC Commissioners from

removal by the President absent “inefficiency, neglect of duty, or malfeasance.”

Humphrey’s Executor v. United States, 295 U.S. 602, 623-32 (1935). As the

Supreme Court has subsequently admonished, however, that holding rested on the

premise that FTC—“as it existed in 1935”—exercised “‘no part of the executive

power.’” Seila Law, 140 S. Ct. at 2198 (quoting Humphrey’s Executor, 295 U.S. at

628). Instead, the Court reasoned, FTC in 1935 exercised only “quasi-legislative or

quasi-judicial powers”—i.e., “‘making investigations and reports’ to Congress” and

“making recommendations to courts as a master in chancery.” Id. at 2198-99

(quoting Humphrey’s Executor, 295 U.S. at 628). As the Supreme Court has

clarified, Humphrey’s Executor thus established only a narrow “exception” for

multimember expert agencies that “perform legislative and judicial functions” and

do not exercise “any executive power.” Id. at 2199.



                                          19
       Case: 23-60167      Document: 96     Page: 36   Date Filed: 06/05/2023




      But as the Court in Seila Law recognized, that characterization of FTC “has

not withstood the test of time”: “under our constitutional structure,” the “activities

of administrative agencies … must be exercises of[] the ‘executive Power.’” 140

S. Ct. at 2198 n.2 (quoting City of Arlington v. FCC, 569 U.S. 290, 305 n.4 (2013)).

Accordingly, the Court in Seila Law made clear that Humphrey’s Executor

represents “‘the outermost constitutional limit[]’” and should not be extended

beyond FTC “as it existed in 1935” and “the set of powers [Humphrey’s Executor]

considered as the basis for its decision.” Id. at 2198, 2200 & n.4. In so holding, the

Court recognized the 1935 FTC may have “possessed broader rulemaking,

enforcement, and adjudicatory powers than the Humphrey’s Court appreciated.” Id.

at 2200 n.4. But that is beside the point—“what matters is the set of powers the

Court considered [in Humphrey’s Executor] as the basis for its decision.” Id.

      The modern FTC is a different animal from the “quasi-legislative or quasi-

judicial” body the Supreme Court considered in Humphrey’s Executor. See Daniel

A. Crane, Debunking Humphrey’s Executor, 83 GEO. WASH. L. REV. 1835, 1859-68

(2015). As this case illustrates, FTC today operates primarily as an enforcement

agency—bringing suit in both administrative proceedings and federal court for

injunctive and monetary relief—that bears no resemblance to the “quasi-legislative

or quasi-judicial” body described in Humphrey’s Executor. The Commission does

not deny this. Its Decision proclaimed that it exercised “[t]he federal government’s



                                          20
          Case: 23-60167     Document: 96    Page: 37   Date Filed: 06/05/2023




prosecutorial enforcement” powers, which fall “‘exclusive[ly]’” within “the

Executive Branch.”         (Op.87-88 (citation omitted).)   Whatever powers FTC

possessed in 1935, the divestiture power invoked by FTC in this case—forcing

Petitioners to unwind a multi-billion dollar transaction designed to promote the

widescale access to a revolutionary cancer test—was not among “the set of powers

[Humphrey’s Executor] considered.” Seila Law, 140 S. Ct. at 2200 n.4.

      Because FTC today is fundamentally different from the “quasi-legislative or

quasi-judicial” body described in Humphrey’s Executor, Seila Law compels the

conclusion that Humphrey’s Executor does not control the removal question

presented by this case. Seila Law, 140 S. Ct. at 2198, 2200 & n.4. Instead, the

traditional limits on restricting the President’s power to remove executive officers,

including the Court’s decision in Myers invalidating a for-cause removal restriction

on executive officers, 272 U.S. at 163-64, controls. See Free Enter. Fund v. PCAOB,

561 U.S. 477, 483, 492-93 (2010).            FTC Commissioners’ insulation from

accountability and removal by the President today is therefore unconstitutional.5

      That constitutional violation warrants not only striking the statutory removal

protection but also vacating FTC’s Decision. By limiting the President’s authority




      5
        To the extent the Court concludes that Humphrey’s Executor is controlling,
Petitioners preserve the argument that the Supreme Court should overrule
Humphrey’s Executor.


                                            21
           Case: 23-60167   Document: 96      Page: 38     Date Filed: 06/05/2023




over members of the Commission, and thus the Commission itself, that statutory

provision unconstitutionally permits FTC to act without “accountab[ility]” to the

President. Seila Law, 140 S. Ct. at 2198 (quoting Free Enter. Fund, 561 U.S. at

483). While it would be difficult to prove in any case how the President may have

acted if he were not restricted by an understanding rooted in a 90-year-old Supreme

Court decision, the high-profile merger at issue in this case—involving a

revolutionary cancer screening test that could save millions of lives—is precisely

the kind of situation in which the absence of presidential accountability and

oversight translates into prejudice. Unlawful removal restrictions not only restrict

the President’s ability to act, but also limit the political accountability that the people

may exert to prompt presidential action.6 FTC’s actions here have, in fact, elicited

a strong public reaction, underscoring that political—and presidential—

accountability could and likely would have tipped the scales in this case.7




       6
        Petitioners were not required to raise or develop this argument before the
Commission, which lacks institutional “competence” to adjudicate the structural
constitutional issue raised by Petitioners, Free Enter. Fund, 561 U.S. at 491, and has
an inherent bias against at-will presidential removal.
       7
         E.g., John Tamny, Lina Khan Blocks Cancer Cures, WALL STREET J. (Apr.
27, 2023) (“Illumina’s acquisition of Grail would save lives, and it’s crazy for the
FTC to call it a monopoly.”); Editorial Board, The FTC’s Unholy Antitrust Grail,
WALL STREET J. (Apr. 3, 2023) (“Ms. Khan seems to be trying to make an example
out of Illumina … . The tacit message to other businesses is don’t dare consummate
a merger that the agency challenges.”); Alden Abbott, When Bad Antitrust Costs
Lives: The Illumina/GRAIL Tragedy, TRUTH ON THE MARKET (Apr. 4, 2023); Alex

                                            22
          Case: 23-60167   Document: 96    Page: 39   Date Filed: 06/05/2023




      C.      The Commission’s Acts Violated Due Process.

      The Commission also violated due process by exercising investigative,

prosecutorial and adjudicative powers in the same case, in a manner that rode

roughshod over Petitioners’ rights.    “A fair trial in a fair tribunal is a basic

requirement of due process.” In re Murchison, 349 U.S. 133, 136 (1955). This

requirement applies to any adjudicative body, including administrative tribunals.

Gibson v. Berryhill, 411 U.S. 564, 579 n.17 (1973).         Not only is a biased

decisionmaker constitutionally unacceptable, but our legal system has “always

endeavored to prevent even the probability of unfairness.” In re Murchison, 349

U.S. at 136.      While combining investigative, prosecutorial and adjudicative

functions does not necessarily violate due process, Withrow v. Larkin, 421 U.S. 35,

58 (1975), it does where “the probability of actual bias on the part of the judge or

decision-maker is too high to be constitutionally tolerable.” Id. at 47.8 “[A]n

unconstitutional potential for bias exists when the same person serves as both

accuser and adjudicator in a case.” Williams v. Pennsylvania, 579 U.S. 1, 8 (2016).



Reinauer, Secondhand Antitrust: FTC Continues to Bully Industries that Can Save
Lives, COMPETITIVE ENTER. INST. (Apr. 5, 2023).
      8
        Congress recognized in the APA the general principle that the same person
may not “engage[] in the performance of investigative or prosecuting functions”
and also “participate or advise in the [agency] decision.” 5 U.S.C. § 554(d)(2).
Congress’s general statutory exemption of “members of the body comprising the
agency,” id. § 554(d)(2)(C), cannot cure the constitutional due process error if (as
here) FTC Commissioners combine these functions in a biased manner.


                                          23
          Case: 23-60167   Document: 96    Page: 40    Date Filed: 06/05/2023




      The potential for unconstitutional bias here is intolerable. The Commission

voted out the complaint after investigation, directed its prosecution and then passed

judgment in overruling the ALJ—playing the roles of “investigator, prosecutor, and

judge.” Axon, 143 S. Ct. at 917 (Gorsuch, J., concurring). “The numbers reveal just

how tilted this game is …. [S]ome say the FTC has not lost an in-house proceeding

in 25 years.” Id.9 And, as this case shows, when lightning does strike before an

ALJ, the Commission is standing in the wings to snatch victory from the jaws of that

rare FTC defeat. This patently biased and one-sided regime, constrained only by

after-the-fact, appellate-style judicial review in which an agency may hide behind

claims of deference, is unconstitutional. See id. at 909-10 (Thomas, J., concurring).

      The proceeding here (including the black-box clearance process describe

below) epitomizes the constitutional flaws of this biased scheme. Throughout its

investigation and legal proceedings, FTC comported itself in procedurally irregular

ways to deprive the parties of a fair hearing before a neutral judge. For example, in

what four U.S. Senators described as “outsourcing of U.S. competition policy to

foreign entities,” FTC colluded with the European Commission to undermine the




      9
        An analysis of FTC merger challenges from 1956 to 1992 found: the “ability
of commissioners to act as both prosecutor and judge in a particular matter can
significantly increase the likelihood of a merger order.” (RFF¶1197.2.) A former
FTC Commissioner described FTC’s remarkable win record as “a strong sign of an
unhealthy and biased institutional process.” (RFF¶1197.5.)


                                          24
       Case: 23-60167     Document: 96     Page: 41    Date Filed: 06/05/2023




normal process of U.S. merger enforcement and deprive the parties of a hearing

before an Article III judge. Letter from Senator Bill Hagerty et al. to Secretary

Antony Blinken et al. (Oct. 20, 2022), https://shorturl.at/adEF3.

      FTC then pursued its own protracted administrative proceedings where it had

home-court advantage and presumably assumed it would prevail. Instead, in an

unprecedented decision showing the fundamental flaws in FTC’s case, FTC’s ALJ

rejected the Commission’s merger challenge following a month-long trial in which

he heard the testimony of numerous witnesses firsthand. But that did not stop the

Commission. In nevertheless reversing the ALJ, the Commission disregarded the

ordinary rules of evidence and belied any appearance of a neutral factfinder.

      As the ALJ acknowledged, the Commission rules were designed to prevent

him from applying the Federal Rules of Evidence. (Pre-Hearing Tr.66 (“[T]he rules

were changed after I came to the [FTC] because of rulings I continually made

applying [the] Federal Rule[s] of Evidence.”).) And the Commission took full

advantage of that on appeal. For example, the Commission: relied on nonparty

testimony given in proceedings that neither Petitioners nor their counsel were

permitted to attend (e.g., Op.30 (citing PX7051, PX7043)), 16 C.F.R. § 2.7(f)(3),

and would be inadmissible in Article III proceedings, Fed. R. Civ. P. 32(a)(1)(A);

relied on deposition testimony even when the witness testified in the administrative

trial or was otherwise available to testify (Op.70 (citing PX7109, PX7110,



                                         25
       Case: 23-60167     Document: 96    Page: 42    Date Filed: 06/05/2023




PX7113)), which would not be permitted in an Article III court, Fed. R. Civ. P.

32(a)(4); relied on documents even if no witness testified about them (e.g., Op.14,

30 (citing PX4018, PX4450); RRFF¶¶3438, 3295-96); relied on an economist

(Op.59) who was found unqualified by the ALJ who heard her testimony (ID.147

n.35); refused to consider evidence from FTC’s own witnesses when it contradicted

FTC’s theory of the case (Op.56-57 n.38); and eliminated the only independent

check on its bias by overriding the findings of its own ALJ, who has more than

twenty years’ experience in merger cases. Rather than respect his detailed findings,

the Commission reversed them, without observing a single trial witness firsthand.

Due process requires more.

      D.    The Commission Followed an Uncodified, Black-box “Clearance”
            Process Incompatible with Equal Protection.

      The assignment of the review of this merger to FTC, rather than DOJ, lacks

any rational basis and therefore violates Petitioners’ equal protection rights, too.

Under the Equal Protection Clause, “[t]he guaranty of equal protection of the laws

is a pledge of the protection of equal laws.” Romer v. Evans, 517 U.S. 620, 633-34

(1996) (citations omitted). Thus, the Equal Protection Clause protects against

“arbitrary and irrational discrimination” by the Government, Bankers Life & Cas.

Co. v. Crenshaw, 486 U.S. 71, 83 (1988), and demands that “all persons similarly

situated should be treated alike,” Tennessee v. Lane, 541 U.S. 509, 522 (2004)

(citation omitted). Differential treatment “run[s] afoul of the Equal Protection


                                         26
       Case: 23-60167     Document: 96     Page: 43    Date Filed: 06/05/2023




Clause” when there is no “rational relationship between the disparity of treatment

and some legitimate governmental purpose.” Heller v. Doe, 509 U.S. 312, 320

(1993). The record demonstrates precisely such a disconnect here.

      The review of this merger was arbitrarily assigned to FTC, which treated

Petitioners very differently than if their merger had been reviewed by DOJ. For

example, FTC may challenge a merger in an administrative forum, enjoying

adjudication by the same body that voted to bring the complaint and directed its

prosecution, which can then reverse an ALJ’s decision and demand deference to its

supposed “findings” when that reversal reaches Article III appellate review. 15

U.S.C. §§ 45(b), 53(b); 16 C.F.R. §§ 3.42(a), 3.54(b). By contrast, DOJ can only

challenge a merger in federal court, where fact findings are made de novo by an

Article III judge, and those findings cannot simply be discarded by another body that

did not observe a single witness, as here. 15 U.S.C. § 25. Additionally, FTC’s

administrative tribunal applies its own evidentiary rules, 16 C.F.R. § 3.43, whereas

the Federal Rules of Evidence apply in litigation by DOJ, see 15 U.S.C. § 25. All

this can dramatically change the nature—and outcome—of a proceeding based

solely on which agency brings it.

      There is no rational basis for these stark, potentially outcome-determinative

differences. Yet the choice of whether a merger review (and any subsequent

challenge) is conducted by DOJ or FTC is decided by the agencies through an



                                         27
       Case: 23-60167      Document: 96    Page: 44    Date Filed: 06/05/2023




informal, non-public, unwritten “clearance” process. (RFF¶1210.) At times, this is

accomplished by a mere coin flip. (RFF¶1211.) The agencies generally allocate

mergers between them by industry based on past practice, which is entirely arbitrary

(RFF¶1214) and provides no rational basis for why particular industries (such as

healthcare, here) receive lesser procedural protections than others. The arbitrary

assignment of the Illumina-Grail merger to FTC had no rational basis and therefore

violated Petitioners’ equal protection and due process rights.

II.   THE COMMISSION ERRED IN DEFINING THE RELEVANT
      MARKET.

      In addition to suffering from constitutional defects, the Decision fails because

it lacks any legally sustainable market definition. To prove a prima facie case, FTC

“bears the burden of proof and persuasion in defining the relevant market.” FTC v.

Arch Coal, Inc., 329 F. Supp. 2d 109, 119 (D.D.C. 2004). If FTC fails to carry this

burden, judgment must be entered for Petitioners. See FTC v. RAG-Stiftung, 436

F. Supp. 3d 278, 291 (D.D.C. 2020). Because it is impossible to assess properly

whether a transaction is likely to result in harm to competition without defining the

market, the Clayton Act proscribes only mergers that will substantially lessen

competition “within the area of effective competition.” United States v. E.I. DuPont

de Nemours & Co., 353 U.S. 586, 593 (1957).

      Faced with the reality that Galleri is the only test on the market that detects

multiple cancers through a single blood draw, the Commission defined an


                                          28
       Case: 23-60167      Document: 96     Page: 45   Date Filed: 06/05/2023




unprecedentedly broad and speculative market: the supposed market for the

“research, development, and commercialization of MCED tests.” (Op.34.) The

Commission’s market includes any test that purports to detect more than one cancer,

regardless of the test’s features, regardless of whether the test is in concept or has

been validated by clinical studies (the sequential life cycle phases of a medical

diagnostic are concept, feasibility, analytical validation, clinical validation, and

commercialization, and many products fall off between steps) (ID.144-45;

RFF¶¶707.1-707.3), and regardless of how close the test is to being on the market

or whether it even makes it to the market. The Commission identified Galleri and a

handful of putative tests in development (“PTDs”)—none of which is commercially

available—as market participants. (Op.3.)

      The Commission’s market definition fails to satisfy the government’s burden

for three reasons.    First, the Commission discarded the foundational market

definition rules announced by the Supreme Court in Brown Shoe, namely that the

outer bounds of the market must be based on reasonable interchangeability. Second,

the Commission failed to properly apply the market definition tests adopted by the

courts and ignored key evidence that contradicted its market definition. Third, the

Commission used invented market definition principles to define an R&D market

that is inconsistent with precedent and designed for only one purpose—to ensure the

Commission can block almost any merger. The Commission’s errors result in an



                                          29
       Case: 23-60167      Document: 96    Page: 46    Date Filed: 06/05/2023




overbroad market that does not properly analyze the impact of the Transaction.

Accordingly, the Commission’s market definition should be rejected and the

Decision reversed.

      A.     The Commission’s “Market” Violates the Standard of Reasonable
             Interchangeability of Use and Cross-Elasticity of Demand.

      “The outer boundaries of a product market are determined by the reasonable

interchangeability of use or the cross-elasticity of demand between the product itself

and substitutes for it.” Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962).

An overbroad market that contains products that are not reasonably interchangeable

is legally erroneous and must be rejected. See PSKS, Inc. v. Leegin Creative Leather

Prods., Inc., 615 F.3d 412, 418 (5th Cir. 2010).          Speculation about future

substitutability cannot prove a relevant market. See Arch Coal, 329 F. Supp. 2d at

116 (“[A]ntitrust theory and speculation cannot trump facts[.]”). The Commission’s

supposed market violates these principles and should be rejected.

      The reasonable interchangeability inquiry requires a careful comparison of

Galleri and its supposed substitutes in the proposed market. The Commission did

no such thing. Instead, the Commission cherry-picked the evidence and relied on

the testimony of an economist with no experience in the relevant industries to assert

that any test (or test in development) that purports to detect more than one cancer

through a blood draw is in the same market. (Op.3, 29-30.) In doing so, the




                                          30
       Case: 23-60167      Document: 96     Page: 47    Date Filed: 06/05/2023




Commission ignored fundamental differences between Galleri and tests in

development that—if they are ever launched—would do very different things.

      Contrary to the Decision—and as the ALJ found—there is no evidence of

reasonable interchangeability of use, currently or in the foreseeable future, between

Galleri and the PTDs. (ID.145.) Galleri is on the market and has been since April

2021. (IDF¶¶52, 201.) Its features are known, and its performance tested and

validated in clinical studies and in the real world: its operative biomarkers, its

sensitivity and specificity, the number of cancer types it detects (more than 50), and

its ability to localize the identified cancer. (IDF¶¶209, 231.) These performance

characteristics drive physicians’ decisions to order a test. (IDF¶¶206-07.)

      By contrast, the record provides no evidence of the above performance

characteristics, which would drive physician decisions, for five of the seven PTDs.

(IDF¶¶338-41, 361-67, 398-402, 434-44, 468-71.) For the other two, Exact and

Singlera, there is record evidence for only a subset of these attributes. (ID.146.)

However, these two PTDs are years from coming to market (if they ever do):

Singlera acknowledged it is 7-10 years away from launch (ID.143-44), and Exact’s

CEO stated publicly in January 2023 that the launch timeline for its PTD was

“unknown” and it would be “a number of years” before any market developed

(RX4067.9)—facts the Commission refused to consider (Op.56-57 n.38), in

violation of Petitioners’ due process rights (see supra Part I.C).



                                          31
        Case: 23-60167     Document: 96      Page: 48    Date Filed: 06/05/2023




      It is undisputed that the Commission’s market would include tests that share

none of Galleri’s features and would never be interchangeable with it. For example,

Galleri tests for cancer with a blood test alone, whereas others require a full body

scan after receiving at least one positive test result. Under the Commission’s market,

a test that detects only two cancer types, and cannot localize the cancer, would be

interchangeable with a test that detects 50 cancer types and can pinpoint where in

the body the cancer is located to help direct physicians’ follow-up care, as Galleri

does. (Op.29-30.)

      There is no evidence in the record to show that the PTDs and Galleri are

reasonably interchangeable. The only qualified experts to testify on the subject, Drs.

Cote and Abrams, explained that Galleri is very different from the PTDs and no

reasonable substitute to Galleri is expected in the foreseeable future. (ID.144-45.)

The ALJ found these experts qualified and agreed with their conclusions. (ID.144-

45 & nn.30-31.) FTC could have called medical or scientific experts to address these

issues. It could have developed evidence about the preferences and likely switching

behavior of clinicians related to the products it includes and excludes from its alleged

market. It did neither. Instead, it relied on its economics expert and witnesses

affiliated with the PTDs.     But as the ALJ found, “Dr. Fiona Scott Morton’s

qualifications to give opinions for this case are minimal. … [She] is not an expert in

MCED tests, clinical trials, any field of chemistry or biological studies, or cancer



                                          32
         Case: 23-60167     Document: 96     Page: 49     Date Filed: 06/05/2023




screening technologies; nor is she a biochemist, molecular biologist, pathologist or

medical doctor.” (ID.147 n.35.) As for the PTDs, although it was said some had a

test in development that would be commercialized in a matter of months (Tr.1625;

Tr.354-55), none of Grail’s potential rivals has released a test in the two years since

trial (Op.25) (noting no Galleri rivals have launched).

      Without evidence that the PTDs are reasonable substitutes with Galleri, the

Commission resorts to denigrating Galleri, stating it lacks certain regulatory

approvals and can identify only seven cancer types and may require a follow-up

scan. (Op.54-56.) Even if all this were true (and it is not) none of it changes the fact

that Galleri is not a substitute for the other PTDs. The Commission disregarded the

undisputed evidence that Galleri is the only cancer test that has demonstrated the

ability to detect more than 50 types of cancer in clinical trials, with a highly accurate

feature to localize cancer. (IDF¶231.) It ignored that Galleri is the only MCED test

with approval from the New York State Department of Health, considered the

highest state regulatory bar for an LDT, and was reviewed by the FDA as part of

multiple investigational device exemption applications, in which the FDA allowed

Grail to report out all cancer type information that Galleri generated. (Tr.3306, 3318,

3440.)    And it distorted the record to conclude that Galleri’s results require

diagnostic confirmation. Unlike Exact’s PTD, which requires a full-body PET-CT

scan for every positive case, and even beyond that, may require additional biopsies



                                           33
        Case: 23-60167      Document: 96      Page: 50    Date Filed: 06/05/2023




to further characterize the cancer (IDF¶¶294-95), Galleri generally does not require

a full-body scan, and only requires a targeted workup for a particular organ/region

(Tr.1387-88).

      Even if (hypothetically) a PTD were to become a substitute for Galleri, there

is no dispute that such an event is, at least, years in the future, rendering the Decision

unduly speculative. Developing an MCED test is challenging, requiring many years

of development and validation, and even then, virtually all efforts to develop MCED

tests have been unsuccessful. (ID.144-45.) As the ALJ found, even if the putative

Grail rivals were among the rare MCED developers who are ultimately successful,

commercial PTDs are at least five to seven years away from launching any MCED

test. (ID.144-45.) Accordingly, the alleged harm is neither probable nor imminent.

See SCM Corp. v. Xerox Corp., 645 F.2d 1195, 1211 (2d Cir. 1981).

      B.     The Commission’s “Market” Satisfies Neither the Brown Shoe
             Market Factors nor the HMT.

      Courts use two approaches to define a relevant product market. First, many

courts have looked to the “practical indicia” of Brown Shoe, 370 U.S. at 325, to

determine whether a proposed market is accurate. In addition, typically in horizontal

mergers, courts apply the hypothetical monopolist test (“HMT”). See RAG-Stiftung,

436 F. Supp. 3d at 293; New York v. Deutsche Telekom AG, 439 F. Supp. 3d 179,

204 (S.D.N.Y. 2020). Under either test, “[t]he analysis begins by examining the

most narrowly-defined product or group of products,” and if that narrow grouping


                                           34
        Case: 23-60167     Document: 96      Page: 51    Date Filed: 06/05/2023




does not constitute a relevant product market, the analysis shifts “to the next broadest

product grouping.”     Arch Coal, 329 F. Supp. 2d at 120.            In reviewing the

Commission’s application of these tests, this Court need not defer to these findings

where they are the result of ignoring and cherry-picking the evidence in the record.

See Tenneco, Inc. v. FTC, 689 F.2d 346, 357 (2d Cir. 1982). As explained below,

FTC failed to meet the requirements for either test.

      Brown Shoe: Under the Supreme Court decision in Brown Shoe, a court must

assess the following factors to determine whether a proposed market is sound:

“industry or public recognition of the [market] as a separate economic entity, the

product’s peculiar characteristics and uses, unique production facilities, distinct

customers, distinct prices, sensitivity to price changes, and specialized vendors.”

370 U.S. at 325. While paying lip service to them, the Commission did not properly

apply the Brown Shoe “practical indicia.”

      As a threshold matter, the Commission failed to start with “the most

narrowly-defined product or group of products.” Arch Coal, 329 F. Supp. 2d at 120.

Instead, it focused on a non-issue: whether MCEDs are distinct from single-cancer

screening or non-screening oncology tests. (Op.26.) The question is not whether

MCEDs are different from single-cancer screening or non-screening oncology tests,

but rather whether Galleri is different from other purported MCEDs. By failing to

conduct that analysis, the Commission failed to meet its burden to define the



                                          35
       Case: 23-60167     Document: 96     Page: 52    Date Filed: 06/05/2023




narrowest market. Arch Coal, 329 F. Supp. 2d at 120. That alone is a basis to reject

the Decision.

      Even if the Commission had started in the appropriate place, it still failed to

properly analyze the Brown Shoe factors. It mentioned two factors, “peculiar

characteristics and uses” and “distinct customers,” only to differentiate MCED tests

from single-cancer and non-screening oncology tests (Op.26-27), not (as the

Commission was required to do) to show that Galleri and the PTDs are in the same

market. It suggested all MCED tests share “distinct prices” and similar “sensitivity

to price changes” (effectively one factor) because MCED tests must be priced low

enough to achieve adoption and other MCED test developers “expect” their tests to

compete on price with Galleri (Op.27-28), yet it ignored the ALJ’s finding that “the

prices of yet-to-be marketed MCED tests have not yet been determined.” (IDF¶205.)

It claimed the “industry recognition” factor is met because Grail has described other

MCED developers as “key competitors” (Op.28-29), ignoring that there is a high

degree of uncertainty as to what these PTDs will look like if they ever launch.

(RX6004.21-22.)

      HMT: The HMT asks whether a hypothetical monopolist of the alleged

product market could “profitably impose … a small but significant and non-

transitory increase in price” (“SSNIP”). RAG-Stiftung, 436 F. Supp. 3d at 293. The

Commission found that FTC did not marshal the data necessary to conduct a HMT



                                         36
        Case: 23-60167     Document: 96      Page: 53    Date Filed: 06/05/2023




and did not apply the HMT in its Decision. (Op.29 n.15.) Accordingly, the

Commission’s market definition cannot be justified under the HMT.

      C.     The Commission’s R&D Market Definition Is Baseless.

      Unable to justify its “market” based on Brown Shoe or the HMT, the

Commission attempted to sidestep these requirements by claiming it is sufficient that

a number of companies are exploring the development of MCED tests and have

described one another as competitors. (Op.30-34.) But describing other firms as

competitors does not “provide a sound economic basis for assessing the market …

the way that a proper interchangeability test would.” Ky. Speedway, LLC v. Nat’l

Ass’n of Stock Car Auto Racing, Inc., 588 F.3d 908, 919 (6th Cir. 2009). That is

especially true here, where there is such a “high degree of uncertainty” as to what

these putative tests will look like, such that identifying other firms as competitors is

“not really enough … to reliably tell us what the market boundaries are going to be.”

(RX6004.21-22.)

      Regardless, the law does not set a different standard for establishing an R&D

market. See Golden Gate Pharmacy Servs., Inc. v. Pfizer, Inc., No. C-09-3854

MMC, 2010 WL 1541257, at *1, *3 (N.D. Cal. Apr. 16, 2010) (rejecting proposed

market definition that failed to sufficiently allege interchangeability “both in the

pharmaceutical product markets and in the innovation market for pharmaceutical

products”), aff’d, 433 F. App’x 598 (9th Cir. 2011). Nor is there any basis to define



                                          37
          Case: 23-60167   Document: 96    Page: 54    Date Filed: 06/05/2023




a relevant antitrust market based on the fact that firms are working toward a general

objective (e.g., developing a cancer screening test). First, the Clayton Act was

“intended to allow courts to appreciate immediately the potential consequences that

a particular acquisition might have upon an existing line of commerce[],” SCM

Corp., 645 F.2d at 1211 (citing Brown Shoe, 370 U.S. at 323-25) (emphasis added).

Second, to assess competitive effects of a merger, courts do not consider entry that

will not occur within two to three years.10 Mercantile Tex. Corp. v. Bd. of Governors

of Fed. Rsrv. Sys., 638 F.2d 1255, 1272 (5th Cir. 1981). The Commission’s market

definition contravenes these well-settled principles, resulting in a grossly overbroad

market.

      In defining the market as it does, the Commission exceeded its clearly

delegated powers. The Clayton Act prohibits mergers that, among other things,

affect “any line of commerce” or “activity affecting commerce,” in accordance with

the market definition principles developed by the courts. 15 U.S.C. § 18. The

Commission may not seek to block a merger where it has not defined the market

based on principles of reasonable interchangeability. Brown Shoe, 370 U.S. at 325.

By failing to do so here, and instead inventing a legally erroneous R&D market, FTC




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         None of the alleged Grail rivals has entered in the nearly two years since
trial. (Op.25.)


                                          38
        Case: 23-60167     Document: 96    Page: 55   Date Filed: 06/05/2023




exceeded its mandate and exercised transformational regulatory power without

Congressional authority. See West Virginia v. EPA, 142 S. Ct. 2587, 2608 (2022).11

III.   THE   COMMISSION  ERRED  IN  CONCLUDING   THE
       TRANSACTION IS LIKELY TO SUBSTANTIALLY LESSEN
       COMPETITION.

       In addition to failing to define a legally cognizable antitrust market, the

Commission erred in reversing the ALJ’s decision that FTC failed to prove that the

Transaction is anticompetitive. The Commission claims the Transaction is unlawful

under “two different but overlapping standards”: what it calls the Brown Shoe “share

of the market foreclosed” standard, and the “ability and incentive framework.”

(Op.40-41.) But neither standard applied by the Commission reflects the law or

finds support in substantial evidence.

       Antitrust law makes a fundamental distinction between vertical mergers, such

as the Transaction, and horizontal mergers. A horizontal merger eliminates a

competitor from the market, and therefore, by definition, increases concentration.

Fruehauf Corp. v. FTC, 603 F.2d 345, 351 (2d Cir. 1979). In contrast, a vertical

merger between a supplier (here, Illumina) and a customer (here, Grail) does not

eliminate a competitor from either the upstream or downstream market. Id. To the


       11
         In addition to mis-defining the “relevant product market,” the Commission
erred in not defining a “related product market.” While the Commission says it was
unnecessary to do so (Op.35-36), determining market power necessarily requires
defining a related product market based on the principles of substitution. See Ohio
v. Am. Express Co., 138 S. Ct. 2274, 2285 (2018).


                                          39
       Case: 23-60167     Document: 96    Page: 56    Date Filed: 06/05/2023




contrary, vertical mergers tend to “encourage product innovation, lower costs for

businesses, and create efficiencies—and thus reduce prices and lead to better goods

and services for consumers.”        Comcast Cable Commc’ns, LLC v. FCC,

717 F.3d 982, 990 (D.C. Cir. 2013) (Kavanaugh, J., concurring). For this reason,

antitrust policymakers believe “most vertical mergers are procompetitive,” 4A

Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ch. 10A-1 (5th ed. 2021);

government enforcers have concluded that “non-horizontal mergers are less likely

than horizontal mergers to create competitive problems,” U.S. Dep’t of Justice, Non-

Horizontal Merger Guidelines § 4.0 (June 14, 1984); and courts have “cautio[ned]

about importing relaxed standards of proof from horizontal agreement cases into

vertical agreement cases. To do so might harm competition and frustrate the very

goals that antitrust law seeks to achieve.” Republic Tobacco Co. v. North Atl.

Trading Co., 381 F.3d 717, 737 (7th Cir. 2004).

      Because the Transaction is purely vertical, the Commission “cannot use a

short cut to establish a presumption of anticompetitive effect.” United States v.

AT&T, Inc. (AT&T II), 916 F.3d 1029, 1032 (D.C. Cir. 2019). On the contrary, to

block the Transaction, FTC was required to prove that it is likely to cause imminent

and substantial harm to competition in a relevant market. 15 U.S.C. § 18; see Brown

Shoe, 370 U.S. at 325 (FTC must show there is a “reasonable probability that the

merger will substantially lessen competition”); United States v. Marine Bancorp.,



                                         40
        Case: 23-60167     Document: 96    Page: 57    Date Filed: 06/05/2023




418 U.S. 602, 623 n.22 (1974) (“[R]emote possibilities are not sufficient[.] …

Rather, the loss of competition which is sufficiently probable and imminent is the

concern of § 7.” (citations omitted)).

       Yet, the Commission based its decision on possibilities instead of

probabilities, disregarding the plain language of the statute, the great weight of

authority and the overwhelming evidence.         The Commission’s “Brown Shoe

standard” is legally wrong, and an appropriate Brown Shoe analysis supports the

Transaction. (§ III.A.) While the “ability-and-incentive” test may be the right legal

standard, the Commission misapplied the test, and the ALJ’s factual findings

demonstrate why the Transaction does not harm competition.           (§ III.B.)   The

Commission then committed an additional legal error in finding substantial harm to

competition without accounting for the Open Offer as part of its prima facie case.

(§ III.C.)

       A.    The Commission’s “Brown Shoe Standard” Misstates the Law and
             Ignores Undisputed Evidence.

       Citing Brown Shoe and its progeny, FTC argued that it met its prima facie

burden merely by showing that Illumina controls an important input (its NGS

products) to MCED development—that is, that Illumina has the ability (even without

the incentive) to harm putative Grail rivals. (CCB.8.) Although the Commission

purported to apply certain factors identified in Brown Shoe, it improperly reduced

the burden on FTC by permitting speculation about the mere possibility of


                                          41
        Case: 23-60167      Document: 96    Page: 58    Date Filed: 06/05/2023




theoretical harm, rather than requiring evidence of probable, substantial and

imminent harm. (Op.42.)

      Nothing in Brown Shoe supports the standard the Commission ascribes to it.

There, the Supreme Court considered a horizontal and vertical merger between a

leading shoe manufacturer and the largest independent shoe retailer. 370 U.S. at

331-35. While the Court held the government met its burden in that instance, the

Court made clear that vertical mergers may stimulate competition and must be

viewed in the context of the particular industry. Id. at 319, 321-22. Contrary to the

Commission’s characterization, Brown Shoe is clear that the Clayton Act is not

concerned with “ephemeral possibilities.” Id. at 323. Rather, it requires examining

the “probable effects of the merger upon the economics of the particular markets

affected.” Id. at 333 (emphasis added). Thus, to prove a merger unlawful, FTC was

required to show a reasonable probability that the Transaction may substantially

lessen imminent competition. Id. at 325; Marine Bancorp., 418 U.S. at 623 n.22.

Possibilities are insufficient.

      By focusing on possibilities alone, the Commission violated well-settled law

that the government cannot use a “short cut” to presume anticompetitive effects from

vertical mergers. AT&T II, 916 F.3d at 1032. It flouted modern precedent eschewing

per se rules against vertical restraints, e.g., Leegin Creative Leather Prods., Inc. v.

PSKS, Inc., 551 U.S. 877, 888 (2007), including per se rules against vertical mergers



                                           42
          Case: 23-60167   Document: 96    Page: 59    Date Filed: 06/05/2023




based on share of the market foreclosed. Fruehauf, 603 F.2d at 352. And it ignored

the principle of constitutional avoidance that is triggered because interpreting the

Clayton Act as the Commission does would grant it an extraordinary social and

economic power—the power to block a vertical merger merely on the basis of

“ephemeral possibilities”—that Congress did not clearly delegate. See Brown Shoe,

370 U.S. at 323; Solid Waste Agency of N. Cook Cnty. v. U.S. Army Corps of Eng’rs,

531 U.S. 159, 172-73 (2001).12

         Under a proper interpretation of Brown Shoe, the Transaction is plainly

lawful. The Commission conceded three Brown Shoe factors by making no attempt

to establish them. (Op.42.)13 But in reducing Brown Shoe to possibilities, the

Commission not only omits three factors, but also distorts the four it purports to

apply.

         First, as Commissioner Wilson observed (Conc.2-3), the Commission erred

as a matter of law in assuming foreclosure from Illumina’s upstream market share.

(Op.42.) Brown Shoe does not permit the Commission to conclude, without an


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        If the Clayton Act permitted FTC to block any transaction it wished based
on “ephemeral possibilities,” that would pose an independent non-delegation
problem. See A.L.A. Schechter Poultry Corp. v. United States, 295 U.S. 495, 541
(1935).
         13
        The three omitted factors are: (1) the extent of concentration of sellers and
buyers in the industry, (2) the existence of a trend toward vertical concentration or
oligopoly in the industry and (3) whether the merger will eliminate potential
competition by one of the merging parties. Fruehauf, 603 F.2d at 353.


                                          43
         Case: 23-60167    Document: 96      Page: 60    Date Filed: 06/05/2023




evidentiary basis, that it is probable that Illumina would have the ability and

incentive to use its market share in the upstream NGS market to foreclose rivals in

the downstream MCED test market. See AT&T II, 916 F.3d at 1032; Fruehauf, 603

F.2d at 352. It is undisputed that, as the ALJ found, the merger will cause no actual

foreclosure today because Galleri is still the only commercialized MCED. (ID.143,

191.)    And the ALJ properly found that—given the lack of evidence of past

foreclosure when Illumina owned 12% of Grail, the lack of diversion between

Galleri and other PTDs, and the protections of the Open Offer (ID.172-81)—the

“evidence fails to prove that a likelihood of harm to Grail’s alleged rivals is probable

or imminent, and therefore the evidence cannot properly support a finding that a

resulting substantial lessening of competition is probable or imminent.” (ID.193.)

Faced with the lack of evidence of actual or imminent foreclosure, the Commission

asserts “harms to current, ongoing innovation competition in nascent markets” and

simply declares that such harm is “sufficiently ‘probable and imminent’” under the

Clayton Act. (Op.61.) But in assessing imminence, courts have looked to a period

of two to three years in the future. See Mercantile Tex. Corp., 638 F.2d at 1272.

There is no evidence here of harm within any such timeframe.

        Second, the “nature and purpose” of the Transaction is not foreclosure of

potential rivals.   As Illumina and Grail executives unanimously testified, the

Transaction was motivated by a desire to accelerate Galleri and save lives. (Tr. 1512,



                                          44
       Case: 23-60167      Document: 96    Page: 61    Date Filed: 06/05/2023




2334-45, 4081-82; PX2465.12.) The Commission ignores this, and instead cites

evidence that Illumina believed in the prospect of large future profits in the MCED

test market (Op.45-46), which does not show competitive harm, cf. 4A Areeda &

Hovenkamp, Antitrust Law ¶ 1004d n.16 (“[A] complaint about lost profits resulting

from increased competition is not one of ‘antitrust injury.’”). Illumina put its money

where its mouth is: the Open Offer prevents Illumina from engaging in foreclosure.

(ID.178-79.)

      Third, the Transaction will not change the market shares of the merged firm

in either the upstream or downstream markets. The Decision simply asserts that,

pre-merger, Illumina is the only NGS supplier and Grail the only seller of MCED

tests. (Op.46.) This proves nothing, as the Transaction does not change the merged

firm’s market power.14

      Fourth, the Transaction will not result in barriers to entry to the MCED

market. To the contrary, the evidence shows that the Transaction has lowered entry

barriers: after the Transaction was announced, one of the alleged Grail rivals first

decided to pursue MCED development (IDF¶339) and Exact acquired Thrive

(Op.14; IDF¶272), confirming analysts’ prediction that the Transaction would

accelerate investment and innovation in MCED test development (RFF¶928). The



      14
          There are NGS alternatives to Illumina on the market today and additional
entry is imminent. (RFF¶¶777-88.)


                                          45
        Case: 23-60167      Document: 96      Page: 62    Date Filed: 06/05/2023




Commission ignored this, and instead relied on trial testimony from aspirational

competitors (Op.46-47) to which the ALJ assigned “scant probative weight.”

(ID.192.) This evidence does not amount to the type of “formidable” and “stiffened”

barriers to entry required to fulfill this factor. See, e.g., U.S. Steel Corp. v. FTC, 426

F.2d 592, 604-05 (6th Cir. 1970). While Illumina has had every opportunity to take

advantage of its supposed market position (IDF¶837), the Decision cites no evidence

that it ever has. On the contrary, companies have invested hundreds of millions of

dollars in developing cancer screening tests on Illumina’s (and other) platforms

(Op.30; RFF¶¶927-42), showing that innovation has flourished.

      Thus, a proper application of the Brown Shoe factors shows no imminent and

substantial harm to competition.

      B.     The Commission Misapplied the “Ability-and-Incentive” Test,
             Elevating Possibilities Over Probabilities.

      As an alternative to its “Brown Shoe standard,” the Commission purported to

apply the “ability-and-incentive” framework described in cases like AT&T. That

test, properly applied, may be used to evaluate whether a vertical merger is likely to

substantially lessen competition. United States v. AT&T Inc. (AT&T I), 310 F. Supp.

3d 161, 242-46 (D.D.C. 2018); AT&T II, 916 F.3d at 1032. But the Commission

misapplied the test.

      In overruling the ALJ, the Commission conducted a three-part analysis

purportedly focused on Illumina’s pre-acquisition incentive, its post-acquisition


                                           46
       Case: 23-60167     Document: 96     Page: 63   Date Filed: 06/05/2023




incentive and its past behavior. The Commission disregarded the ALJ’s findings

without adequate explanation; relied upon cherry-picked facts at odds with

substantial evidence; and continued to elevate possibilities over probabilities. The

Commission’s “ability-and-incentive” analysis is not supported by substantial

evidence.    See Universal Camera Corp. v. NLRB, 340 U.S. 474, 488 (1951)

(remanding where agency failed to “take into account whatever in the record fairly

detracts from its weight”); STP Nuclear Operating Co. v. NLRB, 975 F.3d 507, 515

(5th Cir. 2020) (reversing where agency “ignored substantial parts of the record”);

DISH Network Corp. v. NLRB, 953 F.3d 370, 378 (5th Cir. 2020) (reversing where

the agency’s determination relied on “[s]uspicion, conjecture, and theoretical

speculation [which] register no weight on the substantial evidence scale” (citation

omitted)).

             1.    Alleged Pre-Acquisition Incentive

      The Commission reasons that the Transaction increased Illumina’s incentive

to foreclose Grail’s rivals because it increased Illumina’s stake in Grail. But that

does not give rise to probable, substantial and imminent harm to competition. Any

assessment of potential harm must account for the undisputed historical record.

Before closing, Illumina already owned 12% of Grail and was entitled to a 7%

royalty of its sales in perpetuity. (Op.10-11.) Under that structure, Illumina was

making five times more from Grail than any other test developer. (IDF¶837.) Yet,



                                         47
       Case: 23-60167        Document: 96    Page: 64   Date Filed: 06/05/2023




there is no evidence—none—that Illumina attempted to foreclose any putative Grail

rival—not initially when Illumina owned all of Grail, not when it owned only part

of Grail, and not now that it owns all of Grail again. FTC conceded as much before

the ALJ.    (Tr.4613 (“[FTC]:      I am not aware of any evidence of clogging

[competition] with the 12 percent ownership prior to this. No.”).)

      To demonstrate “the probable anticompetitive effect of the merger,” FTC was

required to show that Illumina’s likely incentives absent the Transaction would be

different, or else there could be no merger-specific “effect” as required by law.

AT&T I, 310 F. Supp. 3d at 190. But the Commission did no analysis comparing the

but-for future world without the Transaction—including existing incentives from

Illumina’s 12% ownership and royalty rights—versus the post-Transaction future

with Illumina fully owning Grail. Thus, the Commission had no basis to conclude

that Illumina going from partial owner (with royalty rights) to full owner lessened

competition substantially.

            2.     Alleged Post-Transaction Incentive

      The Commission next asserts that upon fully reacquiring Grail, Illumina

“stands to profit substantially more from the sale of a GRAIL MCED test,”

purportedly giving it more reason to disadvantage Grail rivals. (Op.49-50.) But in

so doing, the Commission cherry-picks the record, substitutes speculation for the

ALJ’s well-supported findings, and elevates possibilities over probabilities.



                                            48
        Case: 23-60167      Document: 96      Page: 65     Date Filed: 06/05/2023




Whether the Transaction is likely to create an ability and incentive to harm

competition depends on the alleged gain, which is a function of the volume and

timing of any diverted sales and increased MCED test profits downstream, balanced

against how much Illumina would lose upstream (such as from lost NGS sales,

reputational harm and lost opportunities in clinical markets). Yet FTC’s economist

acknowledged that she failed to model post-Transaction downstream profits versus

upstream losses. (RFF¶¶808-14.) Instead, the Commission assumes foreclosing

Grail’s supposed rivals would (1) divert significant sales to Galleri, (2) result in little

material harm to Illumina’s core NGS business and (3) generate significant profits

for Illumina (Op.54-59)—without supporting evidence and notwithstanding

substantial evidence to the contrary.

       No Diversion. Material diversion is necessary for a vertical merger to give

rise to foreclosure incentives. It is basic economics that “if there’s no diversion, then

there’s no incentive to engage in [a foreclosure] strategy” because “the vertically

integrated firm would just lose sales” and therefore “you need significant diversion

for the strategy to make sense.” (RX6000.22.) FTC’s economist agreed that one

cannot “put aside diversion” in a foreclosure analysis because if there is no

likelihood of “recaptur[ing] sales, then yes, raising price above the optimal level will

harm Illumina.” (PX7138.227.)




                                            49
       Case: 23-60167      Document: 96     Page: 66    Date Filed: 06/05/2023




      As the ALJ found, FTC failed to show that the Transaction will cause

diversion of sales from Grail’s purported rivals to Grail. (ID.175-77.) Diversion

depends on substitutability: foreclosure of one product is unlikely to divert sales to

a product that is not a close substitute. (IDF¶840.) As discussed (§ II.A), there is

no substantial evidence that any PTD is or soon will be a reasonable substitute for

Galleri. Because Galleri is the only test on the market today, there are no sales to

divert. Regardless of whether R&D competition is sufficient to place the PTDs in

the same market as Galleri, “[t]he lower the substitutability there is among the

MCED tests, the lower the diversion will be between rivals and Grail.” (ID.177.)

And there is no basis to conclude (and FTC has provided none) that there will be any

material volume of rival sales to divert in the foreseeable future, because there is no

basis to predict that any tests that physicians and patients would consider close

substitutes for Galleri will launch in the foreseeable future. (ID.145-47; RFF¶¶825-

29.) The Commission’s finding about substitutability is rank speculation, which is

insufficient to support the conclusion of a violation of the Clayton Act.

      Harm to Illumina.      The Decision also assumes, without evidence, that

Illumina could foreclose Grail’s putative rivals without materially harming its

profitable NGS business. (Op.57-58.) That assumption is not only unsupported, but

also contrary to undisputed evidence. Disfavoring Grail’s alleged rivals would

undisputedly harm Illumina’s primary business by reducing its NGS sales, causing



                                          50
       Case: 23-60167       Document: 96    Page: 67    Date Filed: 06/05/2023




reputational damage, discouraging development of new applications on Illumina’s

NGS systems, and subjecting Illumina to liability for violating the Open Offer.

(IDF¶¶807-08, 998-1000.) The Commission dismissed these harms by claiming that

Illumina could target only MCED developers and pursue “a campaign of ‘death by

a thousand cuts.’” (Op.58.) But that assertion is speculation unsupported by the

record, which receives “‘no weight on the substantial evidence scale.’” DISH

Network, 953 F.3d at 378 (citation omitted); see also TRW, Inc. v. NLRB, 654 F.2d

307, 312 (5th Cir. 1981).

      For a diversion strategy to succeed, Illumina would have to correctly predict

which customers are likely to develop tests that would be close substitutes for Galleri

in the future, and be certain that such attempted foreclosure of those customers

would not result in lost business in other areas outside of cancer detection, or

business from other customers.        There is no evidence that Illumina could

successfully target customers this way.

      Even if Illumina could successfully target customers, it would be unable to

profit from foreclosure for the independent reason that foreclosure would cause

Illumina to lose business to NGS alternatives. The Commission predicts that

foreclosing MCED customers would result in no lost business for Illumina because

there are supposedly no alternatives to Illumina’s NGS products. (Op.36-40.) But

the record is replete with evidence of actual and potential upstream entry rivaling



                                           51
        Case: 23-60167      Document: 96     Page: 68    Date Filed: 06/05/2023




Illumina and providing alternatives were Illumina to foreclose the PTDs in the

future. (RFF¶¶777-88.) The Commission applied a double standard, requiring an

impossibly high burden to prove entry by NGS competitors upstream (Op.36-40),

but crediting the unsupported assertions of entry by Grail’s alleged rivals

downstream (Op.30). Such double-standard logic is entitled to no deference under

the substantial evidence standard of review.

      Uncertain, Future Profits. The Commission’s theory further depends on the

proposition that Illumina would make more money than it would lose from

foreclosing its MCED customers. But, as the ALJ found, Illumina’s first dollar of

profit on the Transaction is not expected until about 2026, and Illumina does not

expect to recoup its losses from Grail until 2030. (ID.173.) The Commission does

not dispute this finding but disregards it because of “the scale of the projected profits

available to the winner of the competitive race.”          (Op.58.)    Essentially, the

Commission says Illumina’s near-term, years-long losses are immaterial because it

may make back the losses in 10 years. But this theory is both speculative and ignores

the record. Grail has commercialized an MCED test. There is nothing in Illumina’s

deal model suggesting that the expected profits from Grail depend on the foreclosure

of any putative rival. (See generally PX5042.) And the Open Offer and resulting

supply agreements prevent any such foreclosure. (ID.178-81.) The Commission

grapples with none of this.



                                           52
       Case: 23-60167      Document: 96    Page: 69    Date Filed: 06/05/2023




               3.   Alleged Past Behavior

      Finally, the Commission contends Illumina’s past behavior illustrates and

confirms its anticompetitive incentives. (Op.52-53.) However, that contention

ignores the only other vertical transaction Illumina has undertaken—its acquisition

of an NIPT company called Verinata—and mischaracterizes the record evidence

about Grail.

      The Commission asserts that “Illumina gave GRAIL special pricing and other

benefits” shortly after it was founded (while wholly owned by Illumina). (Op.52-

53.) While true, this does not support FTC’s case. Illumina’s support of Grail, six

years ago, was the only way Grail could survive as an independent company and

develop the Galleri test. (IDF¶¶34-35.) Rather than a sign of anticompetitive

effects, Illumina’s assistance supports the Transaction’s procompetitive nature, i.e.,

Illumina’s assistance allowed development of a life-saving test. Since then, Grail

has matured and launched Galleri (IDF¶52), the costs of sequencing have fallen

dramatically (IDF¶809), and Illumina is bound by the Open Offer, which forbids

preferential pricing or access to Grail. (ID.178.) Even the Commission’s allegations

about special pricing do not show that Illumina foreclosed any putative Grail

competitor, of which there were none when Grail was founded (and are still none

today). In criticizing Illumina’s early support of Grail, the Commission attacks the

very thing that sparked industry interest in MCED development and ignores that



                                          53
       Case: 23-60167     Document: 96     Page: 70    Date Filed: 06/05/2023




Illumina has always owned part of Grail and had a stake in its future revenues. The

Decision does not cite a single instance when Illumina has hampered the

competitiveness or development of any supposed Grail rival, despite Illumina’s past

ownership of Grail.

      The Commission also argues that “[w]hen Illumina vertically integrated into

therapy selection tests [which are different from, and not in the same market as,

MCED tests] …, it considered the competitive threat posed by its customers.”

(Op.53.) But FTC does not even claim to have examined whether there has been

foreclosure or a loss of consumer welfare due to Illumina having its own therapy

selection test. If FTC had performed any such analysis, it would have seen unrefuted

evidence in the record that there was no foreclosure in therapy selection.

(RFF¶¶966-73.)

      While seizing on cherry-picked and falsely characterized anecdotes, the

Commission ignored the most relevant past transaction—Illumina’s acquisition of

Verinata. It is unsurprising that the Commission ignores Illumina’s vertical entry

into NIPT in discussing Illumina’s past conduct, as the Verinata acquisition was

decidedly procompetitive. (RFF¶¶963.1-63.4.) Following the acquisition, between

2015 and 2019, the number of NIPT tests conducted by Verinata’s rivals on

Illumina’s platforms in the U.S. more than doubled, and, critically, Verinata’s share

of NIPT sales decreased while rival sales increased—the opposite of foreclosure.



                                         54
        Case: 23-60167      Document: 96     Page: 71      Date Filed: 06/05/2023




(RX3864¶¶162-67.) Since the Verinata acquisition, there have been many new

entrants and substantial investment in NIPT, with a dramatic decline in test pricing.

(RFF¶¶962-63.4.) Illumina has played a major role in expanding payor coverage for

NIPT, resulting in broader market access. (Tr.2343, 4123-26.) The idea for Grail

actually came out of the work that Illumina and Verinata scientists did after that

acquisition. (Tr.1868-74; RFF¶¶40-44.) The Commission imagines a parade of

horribles while ignoring the parade of benefits that resulted from Illumina’s only

other vertical acquisition of a clinical test developer.

      Accordingly, the Commission’s “ability-and-incentive” analysis is not

supported by substantial evidence, and should be reversed.

      C.     The Commission Failed To Account for the Real-World Effects
             from the Open Offer.

      The Commission further erred in considering an artificial case without the

Open Offer, rather than requiring FTC to take the Open Offer into account as part of

its liability case. Any assessment of a merger under the Clayton Act must take

account of real-world effects. Thus, courts require the government to consider post-

merger announcement, binding contractual commitments as part of its liability case.

See AT&T II, 916 F.3d at 1038, 1041; AT&T I, 310 F. Supp. 3d at 241 n.51; United

States v. UnitedHealth Grp. Inc., No. 1:22-cv-0481, 2022 WL 4365867, at *9

(D.D.C. Sept. 19, 2022); FTC v. Libbey, Inc., 211 F. Supp. 2d 34, 46 (D.D.C. 2002).




                                           55
          Case: 23-60167   Document: 96     Page: 72    Date Filed: 06/05/2023




Yet, in finding the Transaction unlawful, the Commission disregarded the Open

Offer, which is an undisputed part of the economic realities.

      When Illumina decided to acquire Grail, it reached out to its major clinical

customers, including those that had publicly stated that they were developing cancer

tests, to offer supply agreements that would guarantee customers access to the same

products and pricing that the customer enjoyed pre-Transaction. (ID.153-54.) These

conversations resulted in the Open Offer. During its twelve-year term, customers

who sign the Open Offer will benefit from significant protections (Op.65-66),

including:

      •       uninterrupted access to Illumina’s current and future NGS products,
              including guaranteed access to the same products as Grail (IDF¶¶896-
              902);

      •       a guarantee that customers will pay the same for NGS products as they
              did pre-Transaction, including guaranteed access to the same most-
              favored-nation pricing available to other Open Offer customers and
              Grail (IDF¶¶915-29);

      •       knowledge of the products and pricing for NGS products for Grail,
              which shall be published on the Illumina website (IDF¶977);

      •       a guarantee that NGS prices will not increase (beyond inflation) for the
              entire twelve-year term, and in fact will decrease by at least 43% by
              2025 (IDF¶¶926, 929);

      •       rights, under Illumina’s core intellectual property, to use Illumina
              products (IDF¶¶965-68); and

      •       a guarantee that customers’ information provided to Illumina will be
              firewalled and protected. (IDF¶¶969-70.)




                                          56
       Case: 23-60167     Document: 96    Page: 73    Date Filed: 06/05/2023




The provisions of the Open Offer are subject to robust enforcement provisions,

including biannual and customer-requested audits, and binding arbitration if any

dispute arises. (IDF¶¶978-88.)

      The Commission dismissed the Open Offer as merely a “remedy,” immaterial

to whether a transaction is unlawful. (Op.61-65.) But the Commission relied on

cases where the proposed remedy was an unconsummated divestiture proposal,

which was conditional and whose impact was unknown. (Id.) By contrast, the Open

Offer’s terms have been operative since Illumina acquired Grail. They are self-

executing and, as the ALJ found, have present, real-world effects (ID.181); they are

an intrinsic aspect of the economic reality of the Transaction, like any operative

contract; and the contracts that have been signed will remain in place even if Grail

is divested. These facts are fundamentally different from DuPont (cited by the

Commission), where the Court held that the government did not need to disprove an

alternative proposed remedy (conditional on the defendant otherwise losing the case)

as part of its liability case, rendering the Commission’s reliance on that case

misplaced (Op.61). Neither the timing of the Open Offer, nor the fact Illumina

created it to address customer concerns, transforms the Open Offer from market

reality into a remedy.

      This threshold legal error fatally infected the Commission’s analysis of the

Open Offer as a remedy. Under the burden-shifting framework, see United States v.



                                         57
       Case: 23-60167     Document: 96     Page: 74    Date Filed: 06/05/2023




Baker Hughes Inc., 908 F.2d 981, 982-83 (D.C. Cir. 1990), there was a profound

difference between requiring Petitioners to rebut FTC’s artificial case without the

Open Offer (Op.66-73) and requiring FTC instead to prove a substantial lessening

of competition in the real world with the Open Offer in place.

IV.   THE COMMISSION ERRED IN IGNORING                            EFFICIENCIES
      REBUTTING ANY ALLEGATION OF HARM.

      Even if there were evidence of probable, substantial and imminent harm to

competition, the Decision should be reversed because it failed to account for

efficiencies easily offsetting the supposed harm. Evidence of efficiencies can rebut

a presumption that a merger will have anticompetitive effect. E.g., FTC v. Tenet

Health Care Corp., 186 F.3d 1045, 1054-55 (8th Cir. 1999). It is widely recognized

that “most vertical mergers are procompetitive,” in part because they often result in

significant efficiencies. 4A Areeda & Hovenkamp, Antitrust Law ch. 10A-1; see

Republic Tobacco Co., 381 F.3d at 737.

      Petitioners tendered extensive, unrebutted evidence that the Transaction will

result in numerous merger-specific benefits. Chief among them is that it will save

tens of thousands of lives by accelerating access to Galleri. The merger will also

lead to innovations from R&D synergies; reduce costs by eliminating a royalty Grail

would otherwise owe and EDM; and lead to supply-chain and operational

efficiencies—all of which will lower prices and otherwise benefit patients.

(RFF¶¶1106-⁠79.)


                                         58
       Case: 23-60167     Document: 96    Page: 75    Date Filed: 06/05/2023




      The record evidence supporting these efficiencies included: (i) unrefuted

testimony from numerous Illumina and Grail executives, each intimately familiar

with the relevant facts (RFF¶¶1107-08); (ii) unrefuted testimony that Illumina’s

Board—at the time comprising a Nobel Laureate, a former FDA commissioner,

financial experts, and veterans of the biotech industry—unanimously concluded the

Transaction will generate substantial efficiencies (RFF¶¶1110-11); (iii) “analogous

past experience,” U.S. Dep’t of Justice & Fed. Trade Comm’n, Horizontal Merger

Guidelines § 10 (Aug. 19, 2010), including Illumina’s vertical acquisition of

Verinata, which resulted in expanded access to NIPT testing and the discovery that

spawned Grail (Tr.1868-74, 2343, 4123-26); and (iv) testimony from highly

qualified economic experts (RFF¶1121.10).

      FTC did not offer any fact evidence demonstrating these efficiencies are

unlikely, and the Commission made no such findings. Nor did the Commission find

that if these efficiencies were supported, the Transaction would be anticompetitive.

Instead, the Commission relied on the unsupported assertions of an economist

(Op.79-84), that Petitioners did not meet an impossibly high and mistaken legal

standard. In so doing, the Commission dismissed the testimony of more than 15

witnesses, all deeply knowledgeable, as somehow “vague” and “speculative”

(Op.81, 87), while substituting its own non-expert, unsupported judgment on the




                                         59
        Case: 23-60167     Document: 96      Page: 76    Date Filed: 06/05/2023




likelihood of these efficiencies coming to pass and whether Grail could achieve them

on its own (though Grail’s executives said otherwise). (Tr.1513, 3004, 3371, 3378.)

      A.     The Commission Applied the Wrong Legal Standard.

      The Decision understates the role efficiencies play in evaluating a merger’s

competitive effects. While efficiencies cannot justify an illegal merger, they can

demonstrate that a merger is not illegal in the first place. The Clayton Act forbids

only those mergers that are anticompetitive after any pro- and anti-competitive

effects are weighed, as numerous courts have held. E.g., Tenet Health Care Corp.,

186 F.3d at 1054-55; FTC v. Univ. Health, Inc., 938 F.2d 1206, 1222 (11th Cir.

1991); Deutsche Telekom, 439 F. Supp. 3d at 207. Although the Commission

purported to evaluate each efficiency identified by Petitioners, it did so using a legal

standard that would effectively eliminate the role of efficiencies in merger analysis,

upending decades of precedent and economic understanding.               The Decision

committed three over-arching legal errors in its approach to efficiencies: (i) it placed

on Petitioners the burden of balancing the Transaction’s efficiencies against the

alleged harms, (ii) it rejected the efficiencies evidence proffered by Petitioners as

legally irrelevant and (iii) it imposed on Petitioners an impossibly high, double

standard that has no support in the law.

      First, the Commission erroneously placed on Petitioners the burden of

balancing efficiencies against the alleged harms. For example, in rejecting the EDM



                                           60
       Case: 23-60167      Document: 96     Page: 77   Date Filed: 06/05/2023




efficiencies and the evidence that cost savings will be passed to consumers (as lower

prices), the Commission faulted Petitioners’ economic expert for not proffering a

“full vertical model” of the Transaction’s likely effects. (Op.84.) While Petitioners

bear the burden of production to put forward evidence of efficiencies, it was FTC’s

burden to model the full effects of the Transaction, including its efficiencies, since

the “ultimate burden of persuasion … remains with the government at all times.”

Baker Hughes, 908 F.2d at 983; AT&T I, 310 F. Supp. 3d at 192, 194-95; Arch Coal,

329 F. Supp. 2d at 116-17. It was FTC that was required to do such balancing, and

its economist did not attempt to do so. (RFF¶¶1078.1-78.3.) By shifting the burden

of balancing efficiencies to Petitioners, and thereby overlooking FTC’s failure of

proof, the Decision committed reversible error.

      Second, the Decision erred by dismissing Petitioners’ efficiencies evidence as

legally irrelevant. The Commission treated the testimony of company executives as

necessarily unreliable and ignored the evidence showing Illumina had achieved

similar efficiencies in prior vertical transactions, including R&D efficiencies from

the acquisition that led to the formation of Grail. (Op.75-78.) The Commission did

not find the testimony of Petitioners’ executives insincere; nor did it identify any

grounds to doubt their credibility. (Op.87 & n.70.) Rather, the Commission

effectively determined that executive testimony alone can never establish a merger’s

efficiencies, no matter how credible, even if corroborated by historical experience.



                                          61
       Case: 23-60167      Document: 96     Page: 78   Date Filed: 06/05/2023




(Op.75-78.) The Commission’s assumption that executive testimony alone can

never constitute reliable evidence constitutes legal error. See, e.g., Valentine v.

Comm’r Soc. Sec. Admin., 574 F.3d 685, 694 (9th Cir. 2009); Deutsche Telekom,

439 F. Supp. 3d at 216-17.

             Third, the Commission erred in holding FTC to a dramatically lowered

standard of proof for competitive harm (§§ II-III above), while imposing on

Petitioners an impossibly heightened standard for establishing that efficiencies are

merger-specific and verifiable.

             The Commission effectively ruled that efficiencies are not merger-

specific (and thus not cognizable), if it is theoretically possible that they could be

achieved by contract or in some other way. That is not the law. An efficiency is

merger-specific if it “cannot be achieved by either company alone.” United States

v. Anthem, Inc., 855 F.3d 345, 356 (D.C. Cir. 2017); Deutsche Telekom, 439 F. Supp.

3d at 212-13. In keeping with its erroneous view that company testimony can never

establish efficiencies, the Commission ignored the testimony of numerous fact

witnesses with personal knowledge explaining why the Transaction’s efficiencies

could not be achieved by other means (e.g., with consultants/contracts).

(RFF¶¶1175-77.5.)

      Additionally, “[c]ourts consider efficiencies verifiable if they are not

speculative and shown in what economists label ‘real’ terms.” Deutsche Telekom,



                                          62
          Case: 23-60167   Document: 96     Page: 79    Date Filed: 06/05/2023




439 F. Supp. 3d at 213 (citations omitted). “[E]fficiency claims substantiated by

analogous past experience are those most likely to be credited.” Id. Here, the

Commission disregarded unrefuted evidence that Illumina achieved similar

efficiencies in a prior vertical merger and ignored consistent witness testimony

concerning the likely benefits of the merger.          The Commission deemed the

Transaction’s efficiencies speculative and thus not verified, by applying an

impossible and baseless double standard. In particular, the Commission:

      •       dismissed the Transaction’s efficiencies as speculative though they are
              well supported and some (royalty elimination) have been achieved
              already (Op.76-86), while accepting speculative claims regarding the
              projected future launch of PTDs (Op.14-19);

      •       disregarded EDM as unsupported by a model (Op.84), while not
              requiring FTC to proffer any reliable model of the Transaction’s likely
              effects though FTC bears the ultimate burden of persuasion, Baker
              Hughes, 908 F.2d at 983;

      •       accepted the speculative claim of FTC’s economist, who has no
              expertise in NGS or cancer testing, that the Transaction might cost lives
              (Op.83), while ignoring the testimony of numerous fact witnesses with
              ample experience/expertise in NGS and cancer testing, that the
              Transaction will save lives (RFF¶1117);

      •       rejected the testimony of company witnesses as necessarily self-serving
              (Op.75-86), while blindly accepting the testimony of interested third
              parties and unqualified experts (e.g., Op.47);

      •       found the testimony of a dozen-plus Illumina and Grail executives
              corroborating the Transaction’s efficiencies insufficient (Op.75-78),
              while basing its determination of Illumina’s supposed foreclosure
              incentives on the testimony of third-party executives (Op.52) with an
              incentive to slow down Grail (ID.189);


                                          63
          Case: 23-60167    Document: 96     Page: 80    Date Filed: 06/05/2023




      •        dismissed efficiencies as unquantified (Op.77) (though they had been
               quantified), while not requiring any quantification of the alleged harms
               (Op.49-60); and

      •        refused to recognize efficiencies because they were not reflected in
               detailed planning documents that could not have been created (because
               regulators have not permitted Illumina and Grail to integrate) (Op.80),
               while crediting the claims of supposed MCED developers with no
               documentary support (e.g., Op.30).

      In short, the Commission imposed an erroneously high standard on Petitioners

to show efficiencies, while imposing an equally erroneous permissive standard on

its staff to show harm.         Such an approach might align with the current

Commissioners’ antipathy toward merger efficiencies, but it has no place in the

Clayton Act.

      B.       The Commission’s Conclusions Lack Support in Substantial
               Evidence.

      In addition to applying the wrong legal standard, the Commission ignored

substantial evidence that the Transaction’s efficiencies are merger-specific and

likely to occur. None of the Commission’s critiques of the Transaction’s efficiencies

survives scrutiny.

               1.    Cost-Saving Efficiencies

      Petitioners amassed substantial evidence that the Transaction will eliminate

substantial costs for Grail and that the savings will be passed on to consumers. The




                                           64
        Case: 23-60167      Document: 96     Page: 81    Date Filed: 06/05/2023




Commission’s rejection of this evidence is not only unfounded but also contrary to

its own theory of harm.

      Grail royalty: The Transaction eliminated Grail’s obligation to pay Illumina

a royalty of 7% of its oncology revenues up to a cumulative royalty of $1 billion, at

which point the rate would decline to 5%. (RFF¶1147.2.) Petitioners’ expert

estimated that elimination of the royalty would result in $136.9 million in consumer

surplus. (RFF¶¶1150, 1151.5.) The Commission does not dispute the royalty has

been eliminated, but claims this efficiency is not merger-specific because Grail

evaluated other options to reduce the royalty before deciding to fully re-unite with

Illumina. (Op.83-84.) However, every witness called on this topic, including the

banker hired to help Grail evaluate its options, testified that none of the other options

was viable. (RFF¶¶1148, 1151.5.) The Commission is not entitled to deference

when it merely substitutes its own judgment for that of witnesses with personal

knowledge.

      EDM: The Transaction also resulted in EDM benefits. (RFF¶¶1153-55.5.)

EDM benefits arise when an upstream firm acquires a downstream firm to which it

supplies inputs. (RX3864¶102.) As separate entities, each firm maximizes its

profits by setting its price such that the marginal revenue from an additional sale

equals the marginal cost of an additional sale; a merger leads a profit-maximizing

firm to eliminate the upstream margin from its downstream pricing decision and to



                                           65
        Case: 23-60167     Document: 96     Page: 82     Date Filed: 06/05/2023




reduce the price of the downstream good. (Id.) Petitioners estimated the EDM

benefit resulting from the Transaction is likely to create $627.9 million in consumer

surplus between 2022-30. (RFF¶1154.) Although EDM is a widely recognized

consequence of vertical integration, e.g., AT&T I, 310 F. Supp. 3d at 193, the

Commission rejected the EDM evidence here because Petitioners’ expert did not

model the full effects of the transaction. (Op.84.) But, as noted (§ IV.A), it was

FTC’s burden (not Petitioners’) to model the full effects of the transaction and it

failed to do so. In fact, EDM is a unilateral price effect relevant to whether FTC can

establish its prima facie case. Bruce H. Kobayashi & Timothy J. Muris, Screening

Out Innovation—Vertical Merger Principles and the FTC’s Misapplication in the

Illumina-GRAIL Case, COMPETITIVE ENTER. INST. (2021); Christine Wilson,

Reflections on the 2020 Draft Vertical Merger Guidelines and Comments from

Stakeholders, Remarks at the DOJ Workshop on Draft Vertical Mergers 6 (March

11, 2020).

      Supply-Chain/Operational Efficiencies:           Illumina has vastly superior

operational capabilities that can be made available to Grail for Galleri’s scaled

distribution.   (RFF¶¶1157-67.)     Petitioners quantified the savings from these

efficiencies at approximately $140 million over 10 years.          (RFF¶1166.)    The

Commission rejected this evidence principally because Grail had made some

operational improvements on its own. (Op.85.) No one ever claimed Grail has no



                                          66
       Case: 23-60167      Document: 96    Page: 83    Date Filed: 06/05/2023




operational capabilities or was not seeking to improve. But the evidence showed

that Illumina can accelerate those efforts at a lower cost. (RFF¶¶1165.2-65.5.)

There is an obvious difference between building vast laboratory and operational

infrastructure from the bottom up, as Grail would have to do on its own, and being

part of a global organization that has those capabilities already and has considerable

experience running them at scale. (Id.)

      Pass-through:     As Petitioners’ economist explained, economic theory

demonstrates that the cost savings derived from EDM, eliminating the royalty and

supply-chain/operational efficiencies will be passed through to consumers by

lowering Galleri’s price: “if your costs go down, your marginal costs go down, all

else equal, you will lower price, not because you’re a good person, but because you

want to make more money.” (RX6000.69; see also RFF¶¶1149.1-49.5.) The

Commission ignored this evidence and instead determined—without citing any

economic authority—that passthrough was unlikely because Grail has no rivals (and

so, supposedly, no incentive to lower Galleri’s price). (Op.86-87.) In addition to

contravening economic theory, this rationale is irreconcilable with the finding that

other MCED developers expect “to compete with Galleri on price” (Op.27) and

upends the foundation of the Commission’s case: that Grail faces robust competition

giving rise to a purported foreclosure incentive (Op.54-57).




                                          67
       Case: 23-60167      Document: 96    Page: 84    Date Filed: 06/05/2023




             2.    R&D Efficiencies

      Unrefuted evidence, including witness testimony and analogous past

experience, established that the Transaction will lead to significant R&D

efficiencies—both related to Galleri (making the test more accurate and cheaper, just

as Illumina did for NIPT after acquiring Verinata) and other technologies (using

Galleri samples to discover genomic biomarkers in the blood, just as Illumina

discovered the insights leading to Grail’s formation by studying patient samples

from Verinata’s NIPT test). (RFF¶¶1136-45.) The Commission identified no basis

to question the evidence of these efficiencies—it merely took issue with the fact they

were established, in part, by company testimony. In characterizing the evidence as

the “mere expectations of corporate executives” (Op.78), the Commission

completely ignored that both forms of R&D efficiency were substantiated by

analogous past experience, exactly the type that the agencies’ guidelines describe as

“most likely to be credited.” Horizontal Merger Guidelines § 10.

             3.    Market Access Acceleration

      Petitioners proffered ample evidence the Transaction will accelerate

widespread access to Galleri, saving thousands of lives and billions of dollars, as

Illumina’s regulatory and market-access expertise and resources will accelerate FDA

approval and payer coverage. (RFF¶¶1127-35.) The Commission rejected this

evidence because Illumina’s executives did not detail every step in the regulatory



                                          68
       Case: 23-60167      Document: 96     Page: 85    Date Filed: 06/05/2023




process that will be accelerated and by precisely how much. (Op.79-80.) The law,

however, does not demand such specificity, and the Commission cited no evidence

that the overall FDA process is unlikely to be accelerated. The Commission also

determined that these efficiencies are not merger specific on the theory Grail could

have partnered with another company to achieve FDA and payer acceleration. There

is no evidence supporting that assumption (Op.81-82) and ample evidence to the

contrary (RRFF¶¶5388, 5646). The Commission pointed only to the unremarkable

fact that Grail has a “massive” incentive to accelerate Galleri (Op.81), while ignoring

that every Grail executive to address the subject testified that re-uniting with

Illumina was a more effective way to achieve that objective (Tr. 538, 1417, 2980,

3371). The Commission’s speculation that Grail could do as well without the merger

deserves no deference.

      The Commission discounted the evidence of market-access acceleration

largely because Illumina purportedly did not take acceleration into account in its deal

model. (Op.79.) That claim distorts the record and warrants no deference. The

unrefuted evidence showed Illumina’s board took acceleration into account

(RFF¶1121.5); the deal model was created to determine the acquisition price and

was therefore necessarily conservative.        (RFF¶1379; RRFF¶5043.)            Further

distorting the record, the Commission cited testimony that Illumina did not model

the probability that acceleration will occur, (Op.79), while ignoring undisputed



                                          69
        Case: 23-60167         Document: 96    Page: 86   Date Filed: 06/05/2023




evidence that Illumina was confident that acceleration was highly probable.

(RRFF¶¶5060-64.)       That confidence is a reason to credit the evidence on

acceleration, not ignore it.

             4.     International Expansion

      Finally, the Commission rejected robust evidence of international efficiencies

on the ground ex-U.S. efficiencies are irrelevant, only to acknowledge that

international acceleration will improve the test for U.S. patients. (Op.86.) The

Commission speculated Grail could achieve the same degree of international

acceleration by partnering with other global companies, or could do so on its own.

(Op.86.) It cited no supporting evidence and ignored unrefuted evidence to the

contrary. (RFF¶¶1168-73.)

      C.     The Commission Failed to Balance Efficiencies Against Alleged
             Harm.

      Even if some of the Transaction’s efficiencies were disregarded, the

Commission erred in failing to balance proven efficiencies against the alleged harm.

That alone is fatal to FTC’s case.

      Given the potential benefits that come from a vertical merger, the government

was required to weigh the alleged harm against proven efficiencies. See 4A Areeda

& Hovenkamp, Antitrust Law ¶ 1020; Baker Hughes, 908 F.2d at 984 (holding that

the Clayton Act requires “a totality-of-the-circumstances approach … weighing a

variety of factors to determine the effects of particular transactions on competition”).


                                              70
       Case: 23-60167      Document: 96     Page: 87    Date Filed: 06/05/2023




“If you don’t take account of the efficiencies or, more broadly, the incentive to lower

price, you risk preventing a merger that would bring large benefits to society because

you’ve failed to balance the benefits against the possible harms.” (RFF ¶ 803.1.) To

properly determine whether competitive harm is probable depends on the extent of

acceleration, output expansion, the estimated number of lives saved from accelerated

and expanded output, quality improvements (e.g., from R&D advances and

additional data from international markets), and cost savings and lower prices (e.g.,

EDM savings, royalty reductions, procurement savings), as compared to the timing

and magnitude of potential harm.

      Yet the Commission failed to do the required balancing. Instead, it simply

assumed the Transaction will generate no efficiencies at all and thus gave them no

weight on the scale (Op.77), while ascribing insurmountable weight to alleged harms

the Commission made no effort to quantify (Op.49-60).             The Commission’s

approach is especially ill-conceived as the Commission offered no evidence refuting

any of the efficiencies, most have been quantified (RFF¶¶1150, 1154, 1166) and the

Grail royalty has already been eliminated, resulting in more than $136.9 million in

consumer surplus (RFF¶1150).




                                          71
       Case: 23-60167     Document: 96     Page: 88    Date Filed: 06/05/2023




V.    THE DECISION INJURED PETITIONERS AND SHOULD BE SET
      ASIDE IN ITS ENTIRETY.

      Individually and collectively, the errors described above require reversal of

the Commission’s Decision.

      The Decision rests not on vertical merger precedent—under which FTC’s case

fails, as its own ALJ found—but on the current Commission’s policy goals,

grounded in antipathy to mergers. The Commission relied on possibilities instead

of probabilities and embraced a series of double standards unrecognized in the law.

For example, the Decision:

         • defined a broad downstream market to include unfinished research for
           possible tests years from launch that may never compete with Galleri
           (Op.24-34), but defined the upstream market narrowly to include only
           Illumina products, ignoring NGS products both on the market and
           poised to launch (Op.35-40);

         • concluded that FTC need not provide robust proof of harm as the future
           is unknown (Op.49-60), but required Respondents to precisely quantify
           the Transaction’s future efficiencies (Op.77);

         • relied on self-interested third parties FTC lined up to speculate on issues
           relating to Illumina’s incentives (Op.52), while disregarding testimony
           from Illumina executives about Illumina’s own incentives (IDF¶895);

         • ignored concrete evidence of actual and imminent NGS competition
           with Illumina upstream (RFF¶¶777-80), while assuming imminent
           MCED competition with Grail downstream based only on aspirational,
           undocumented claims not credited by the ALJ (Op.30);

         • found the Open Offer inadequate because contracts supposedly cannot
           constrain Illumina’s conduct (Op.73), but concluded that Grail could
           realize efficiencies through contract (Op.81); and


                                         72
       Case: 23-60167     Document: 96     Page: 89    Date Filed: 06/05/2023




          • allowed FTC to enter evidence into the record after trial regarding BGI
            (an Illumina rival) (Op.38 n.21), while refusing to re-open the record
            for Petitioners’ evidence that further discredited claims by PDTs about
            the timing and status of their MCED development (Op.56-57 n.38).

A decision so steeped in double standards is better suited to judgment as a matter of

law than to remand.

      Judgment should also be entered for Petitioners because there is no basis for

remand, even on corrected legal standards. The overwhelming weight of the

evidence demonstrates that the Transaction is procompetitive and remand would

only result in further and unwarranted delay. Entering judgment for Petitioners is

the only available remedy given the constitutional defects in FTC’s administrative

scheme.




                                         73
       Case: 23-60167     Document: 96     Page: 90   Date Filed: 06/05/2023




                                 CONCLUSION

      The Commission’s Decision should be reversed, allowing Petitioners to get

about the business of revolutionizing cancer care.

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                                         74
Case: 23-60167   Document: 96    Page: 91   Date Filed: 06/05/2023




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                                75
       Case: 23-60167     Document: 96        Page: 92   Date Filed: 06/05/2023




                         CERTIFICATE OF SERVICE

      This is to certify that the foregoing instrument has been served via the Court’s

ECF filing system in compliance with Rule 25(b) and (c) of the Federal Rules of

Appellate Procedure, on June 5, 2023, on all registered counsel of record, and has

been transmitted to the Clerk of the Court.



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                                         76
       Case: 23-60167     Document: 96    Page: 93    Date Filed: 06/05/2023




                      CERTIFICATE OF COMPLIANCE

      1.    This document complies with the type-volume limit requested in

Petitioners’ timely-filed motion to file a single brief of 16,000 words (rather than

two briefs of 13,000 words each), which is pending before the Court, because,

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R. 32.1:

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                                         77
